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                         EXHIBIT 2
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA



  JAVIER CARDENAS, RODNEY AND
  PAMELA BAKER, MICHELLE MONGE,
  and KURT KIRTON, individually and on
  behalf of all others similarly situated,

       Plaintiffs,

       v.                                    Civil Action No. 18-22798-CIV-
                                             MORENO
  TOYOTA MOTOR CORPORATION,
  TOYOTA MOTOR SALES, U.S.A., INC.,
  TOYOTA MOTOR ENGINEERING &
  MANUFACTURING NORTH AMERICA,
  INC., and SOUTHEAST TOYOTA
  DISTRIBUTORS, LLC,

      Defendants.




                        EXPERT REPORT OF SARAH BUTLER
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      I.         QUALIFICATIONS

            1.     I am a Managing Director at NERA Economic Consulting (“NERA”), where I am

  the Chair of the Survey and Sampling Practice and a member of the Intellectual Property,

  Product Liability, Antitrust, and Labor Practices. My business address is 4 Embarcadero Center,

  San Francisco, CA 94111. NERA is a firm providing expert statistical, survey, economic, and

  financial research analysis.

           2.      Among my responsibilities, I conduct survey research, market research, and

  design and implement statistical samples for matters involving business and consumer decision

  making, consumer choice, and consumer behavior. In the course of my career, I have conducted

  research for leading corporations and government agencies on consumers, employees, and

  businesses. My work has been included in numerous lawsuits involving allegations of false

  marketing and advertising, patent infringement, trademark and trade dress confusion, and

  secondary meaning, as well as in antitrust and employment-related litigation. I am a member of

  the American Association of Public Opinion Research, the American Statistical Association, the

  Intellectual Property Section of the American Bar Association, and the International Trademark

  Association.

           3.      I have also worked as a market researcher conducting surveys of consumers and

  professionals, focus groups, and in-depth interviews. I worked as an independent consultant

  conducting research for the Department of Environment and Rural Affairs in the United

  Kingdom. I have taught courses focused on or involving research methodologies in both the

  United States and Europe, including a graduate level course on quantitative and qualitative

  research methods in the social sciences at the University of Limerick in Ireland and undergraduate

  courses at Temple University. I hold a Master’s Degree from Trinity College, Dublin and a



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  Master’s Degree from Temple University. As a part of my Master’s Degree and PhD coursework,

  I took numerous classes relevant to my current work, including courses in statistics, Census data,

  survey research methods, qualitative methods, and data analysis.

               4.      I have substantial experience conducting and using surveys to measure consumer

  opinions and behaviors regarding products and services including purchase processes, product

  attributes, branding and positioning, new product research, and communications strategies.

  During my career in academic and commercial research, I have personally facilitated a wide range

  of research including large-scale surveys, in-depth interviews, focus groups, and observational

  studies.

               5.      I have submitted expert reports, been deposed, and have testified at trial within

  the last five years. A list of my testimony is included on the copy of my current resume, which is

  attached as Exhibit A.

                6.     NERA is being compensated for my services in this matter at my standard rate of

  $675 per hour. Members of the staff at NERA have worked at my direction to assist me in this

  engagement. No part of my compensation or NERA’s compensation depends on the outcome of

  this litigation. Throughout this report, I have used the terms “I” and “my” to refer to work

  performed by me and/or others under my direction.


         II.         DOCUMENTS REVIEWED

                7.     As part of my work, I reviewed the Complaint1 in this matter, and other materials.

  A list of the specific materials I reviewed can be found in Exhibit B.



  1   Javier Cardenas, Rodney and Pamela Baker, Michelle Monge, and Kurt Kirton, individually and on behalf of all others
      similarly situated, v. Toyota Motor Corporation, Toyota Motor Sales, U.S.A., INC., Toyota Motor Engineering &
      Manufacturing North America, Inc., and Southeast Toyota Distributors, LLC. Corrected Amended Class Action Complaint.
      United States District Court Southern District of Florida. Civil Action No. 18-22798-CIV-MORENO (hereinafter,
      “Complaint”).


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         III.        ASSIGNMENT AND SUMMARY OF OPINIONS

                8.      I was retained by Defendants Toyota Motor Corporation, Toyota Motor Sales,

  U.S.A., Inc., and Toyota Motor Engineering & Manufacturing North America, Inc. (collectively,

  “Toyota Defendants”) to evaluate the potential impact of information on consumers related to the

  claims by the Plaintiffs in this case regarding an allegedly defective HVAC system in 2012-2017

  US-bound Toyota Camry and Camry Hybrid vehicles (the “Putative Class Vehicles”). I

  designed a survey to evaluate how potential consumers would respond to a disclosure from the

  Toyota Defendants regarding the potential for odor as a result of an HVAC design defect when

  considering the purchase of a Putative Class Vehicle. More specifically, I evaluated how

  consumers would respond to a pre-purchase disclosure that the HVAC system of a Toyota

  Camry and Camry Hybrid may emit a musty, damp, and/or sour odor and that this odor may be

  caused by a design which allows condensing water to accumulate and organic materials to

  become trapped in the system (the “HVAC Disclosure”). The study was designed to evaluate

  how, if at all, this information might affect consumers’ interest in a Putative Class Vehicle and

  whether such information would be important or significant to the purchase decision-making of

  all consumers, as Plaintiffs allege in their Complaint.

                9.      My survey asked a population of consumers considering the purchase of a Toyota

  Camry or Camry Hybrid to review information available to consumers in the real world.2

  Specifically, survey respondents were shown an online Kelley Blue Book review for a Putative

  Class Vehicle that they might consider purchasing. To evaluate the impact of the HVAC

  Disclosure, I randomly assigned half of all respondents to see a review which included

  information about the potential for HVAC odor, and half of all respondents to see the same



  2   See ¶¶ 33 - 35 for discussion of the vehicles shown in survey.


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  review without the HVAC odor information (hereafter called the “Disclosure” and “Non-

  Disclosure” Groups). Each of these groups, the Disclosure and the Non-Disclosure Group, was

  asked to indicate: (1) what aspects/features of the vehicle were important; (2) what

  aspects/features of the vehicle were positive; (3) what aspects/features of the vehicle were

  negative; and (4) how interested they would be in purchasing the vehicle, at a particular price,

  given the information in the review.

         10.       Based on the results of my survey, I have formed the following opinions:

                  Consumers vary widely as to what information positively and negatively affects

                   their individual perceptions of the Putative Class Vehicles. Survey respondents

                   reported a range of features as important and had differing opinions as to which

                   vehicle features are negative or positive.

                  The degree to which any HVAC Disclosure would adversely impact a consumer’s

                   view of the Putative Class Vehicles varies by consumer. In general, the

                   information contained in the HVAC Disclosure is not important to the majority of

                   consumers and does not adversely affect respondents’ perceptions of the Putative

                   Class Vehicles. In fact, respondents were more likely to identify other, non-

                   HVAC aspects of the Camry and Camry Hybrid vehicles as negative. Of those

                   respondents in the Disclosure Group who indicated that there was information in

                   the review that affected their individual perception of the vehicles negatively, the

                   majority (60.3 percent) named things other than the alleged HVAC defect and not

                   the alleged HVAC defect.

                  The impact of the HVAC Disclosure on a consumer’s interest in purchasing a

                   Putative Class Vehicle varies by consumer. Even among respondents who



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                   identified the HVAC Disclosure as a negative aspect of the vehicles, the impact of

                   the HVAC Disclosure varied, and only a very small number actually indicated

                   that they were uninterested in the vehicle shown.

                  While the impact of the HVAC Disclosure varies by consumer, the rates at which

                   respondents indicated they would be likely or unlikely to be interested in

                   purchasing the Camry or Camry Hybrid vehicles did not differ between the

                   Disclosure and Non-Disclosure Groups. Thus, while the individualized impact of

                   any HVAC Disclosure on any individual consumer’s interest varies, the HVAC

                   Disclosure does not have an aggregate impact on consumers’ interest in and

                   likelihood of purchasing the Putative Class Vehicles.

         11.       In short, my survey results demonstrate that consumers vary in whether they view

  the HVAC Disclosure as important or material in making a purchasing decision for Putative

  Class Vehicles. Beyond the variation at the individual level, the majority of respondents did not

  identify the HVAC Disclosure as a negative aspect of the vehicle even when listed as a specific

  “con” (in a section on “pros and cons” of a vehicle review). Moreover, while the impact of any

  HVAC Disclosure on purchasing interest varies by consumer, the presence of the HVAC

  Disclosure (regardless of whether consumers specifically identify it as a negative attribute) has

  no aggregate impact on purchase intentions for Camry or Camry Hybrid vehicles. The purchase

  intentions of consumers shown the HVAC Disclosure are statistically equivalent to those who

  are not shown the Disclosure.




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         IV.       BACKGROUND

             12.        I understand that Plaintiffs Javier Cardenas, Rodney Baker,3 Michelle Monge, and

  Kurt Kirton assert that they purchased various model year Camry vehicles, which they allege

  “contain a defective Heating, Ventilation, and Air Conditioning System (the “Defective HVAC

  System”) that fails to properly remove all humidity and water and emits foul, noxious, and/or

  toxic odors into the vehicles’ passenger compartments when the Defective HVAC System is in

  use.”4

             13.        Plaintiffs assert that, had they been aware of the allegedly defective HVAC

  system and the potential for odor, they “would not have purchased or leased their [Putative] Class

  Vehicles or would have paid significantly less for [them].”5 Plaintiffs further assert that the

  alleged omission of HVAC information would have been material to their purchasing decision

  and the purchasing decisions of all putative class members.6 As a result, Plaintiffs contend that

  all putative class members have been uniformly harmed.7

             14.        Plaintiffs seek a nationwide class, excluding California, of individuals who

  purchased or leased a 2012-2017 model year US-bound Toyota Camry vehicle.8 Plaintiffs assert

  that they and the putative class members were not aware of the potential for HVAC odor and

  would not have purchased or leased their vehicles (or would not have paid what they paid for their




  3   I understand that Plaintiff Pamela Baker has voluntarily dismissed her claims with prejudice.
  4   Complaint, ¶ 3. I understand that no Plaintiff has experienced any health issue associated with the HVAC systems of their Class
      Vehicles. See, e.g., September 25, 2020 Deposition of Kurt Wayne Kirton, at p. 35:16-36:4, 116:10-117:8; September 17,
      2020 Deposition of Rodney Baker, p. 20:16 – 21:3; September 24, 2020 Deposition of Javier Cardenas, p. 16:7 - 17:16, 96:23 –
      97:20; October 1, 2020 Deposition of Michelle Monge, p. 51:13 – 53:7.
  5   Complaint, ¶ 11; see also id. at ¶¶ 41, 135(m), 176, 198.
  6   Complaint, ¶¶ 10-11, 24, 33, 37, 39, 139, 140, 175, 197.
  7   Complaint, ¶¶ 11, 12, 15.
  8   Complaint, ¶¶ 1-2, 105.


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  vehicles) had a disclosure about the potential for odor from the allegedly defective HVAC system

  been made prior to purchase.9

               15.       To test Plaintiffs’ allegations and evaluate the possible impact of an HVAC

  disclosure on putative class members, I designed a survey of relevant consumers.

          V.         SURVEY METHODOLOGY

               16.       The design of my research follows the generally accepted principles for the design

  of a survey to be used as evidence in litigation.10 In general, the design of a reliable survey

  requires careful attention to the following key areas:

                      The definition of the relevant population;

                      The procedures for sampling from the relevant population;

                      The survey questions used;

                      The stimuli shown to respondents; and

                      The protocol for calculating the results from the survey.11

               17.       The discussion of the survey I conducted is organized around each of these key

  areas.




   9   Complaint, ¶¶ 10-11, 41.
   10   Diamond, Shari, S. (2011) “Reference Guide on Survey Research,” Reference Manual on Scientific Evidence, Committee on
          the Development of the Third Edition of the Reference Manual on Scientific Evidence; Federal Judicial Center; National
          Research Council (hereafter “Diamond”), pp. 359-423.
   11   The Federal Judicial Center’s (2004) Manual for Complex Litigation, Fourth Edition, §11.493, p. 103 phrases these key areas
       as such:
       • the population was properly chosen and defined;
       • the sample chosen was representative of that population;
       • the data gathered were accurately reported; and
       • the data were analyzed in accordance with accepted statistical principles.


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   A.       Survey Population

           18.        Plaintiffs allege that they were not aware of the potential for HVAC odor prior to

  the purchase of their vehicles.12 Since Plaintiffs allege that information prior to purchase would

  have had an impact on their purchasing decision, it is important to evaluate consumer perception

  when considering a purchase, not after the fact. Therefore, for this matter, the relevant population

  is consumers who are considering purchasing a Toyota brand vehicle, like those alleged to be in

  the putative class here, in the next year or two.13

   B.       Sampling of the Relevant Population

           19.        Potential survey respondents were contacted using an internet panel hosted by

  Dynata.14 Dynata complies with the standards for online survey data panels set forth by

  ESOMAR (The European Society for Opinion and Market Research), which are followed by

  researchers and research organizations worldwide, including in the United States. Dynata holds

  industry memberships with AAPOR (The American Association of Public Opinion Research), the

  Insights Association, and ESOMAR.

           20.        Dynata uses a variety of quality control measures to ensure the reliability and

  integrity of the responses it provides. For example, Dynata uses digital fingerprinting that creates

  a “fingerprint” for each respondent based on computer characteristics (like IP addresses), which




   12Plaintiffs allege that Defendants have “fraudulently and intentionally omitted and concealed from Plaintiffs and Class members
    the HVAC System Defect in the Class Vehicles, even though Defendants knew or should have known of the design and/or
    manufacturing defects in the Class Vehicles” (Complaint, ¶ 69). However, I understand that at least one named Plaintiff has
    conceded that he was aware of the potential for HVAC odor at the time of the purchase of both of his Putative Class Vehicles.
    (September 17, 2020 Deposition of Rodney Baker, at 31:24-32:20, 197:10-24.)
   13As described below, after collecting data using consumers considering purchasing a Toyota brand vehicle in the next year, I
    expanded this time frame to the next two years so as to ensure that I collected sufficient sample for my analysis. There were 191
    respondents who qualified in the “next year” time frame, and 221 who qualified in the “next two years” time frame.
   14For additional information about Dynata online surveys, see file Dynata-Panel-Book-2019-2.19.pdf. “Panel Book: Delivering
    online B2B and B2C sample from a robust collection of high-quality data for maximum feasibility, sustainability,
    representativeness and consistency,” http://info.researchnow.com/rs/105-ZDT-791/images/Dynata_Panel%20Book_2.19.pdf.


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   can then be used to identify respondents and to exclude individuals who attempt to take the same

   survey more than once. Dynata’s standard quality control measures were undertaken in this

   study.

              21.        Data for the survey were collected between September 22, 2020 and October 12,

  2020. Potential survey respondents were randomly selected and were sent a generic invitation to

  participate in the survey.15 Potential respondents were unaware of the purpose or topic of the

  survey and needed to meet the screening criteria outlined below in order to qualify for the survey.

              22.        The random selection procedures ensured that all adult panelists meeting the

  criteria had the opportunity to participate in the survey. A survey conducted using an internet

  methodology allows for the randomized display of stimuli and allows respondents to carefully

  read and review the materials and consider the answer choices presented. An internet panel also

  allows the researcher to access a broader respondent population than is typically accessible with

  standard in-person intercept methods, such as those conducted in shopping malls. Research

  conducted using internet panels has been shown to be reliable, more cost efficient, and can yield

  better quality responses in appropriate circumstances when compared to other research methods.16

              23.        A total of 13,354 potential respondents opened the invitation and began the

  survey and of these, 412 respondents qualified for and completed the survey. The questionnaire is

  provided in Exhibit D, and screenshots of the survey, as it appeared to respondents, are provided

  in Exhibit E.




   15   See Exhibit C for an example survey invitation.
   16 See,e.g., Braunsberger, Karin, Hans Wybenga, Roger Gates, 2007. “A comparison of reliability between telephone and web-
    based surveys,” Journal of Business Research 60; Lindhjem, Henrik and Ståle Navrud, 2011. “Are Internet surveys an
    alternative to face-to-face interviews in contingent valuation?” Ecological Economics 70, no. 9.


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   C.         Quality Control Measures for the Survey

             24.       To ensure that my data are of the highest quality and reliability, I implemented

  quality control measures in addition to those undertaken by Dynata:

                   a. As is standard survey practice for litigation, the survey was conducted in a

                       “double-blind” fashion; that is, neither the staff at Dynata nor any of the

                       respondents were made aware of the survey sponsor or the ultimate intention of

                       the survey.17

                   b. Respondents had to correctly answer a Google reCAPTCHA question to ensure

                       that a person, and not a computer or “bot,” was taking the survey.18

                   c. Respondents were able to take the survey either on a desktop, laptop, or tablet

                       computer.

                   d. Respondents were required to enter their gender and age at the outset of the

                       survey, and if these data conflicted with the respondent information on file with

                       Dynata, the respondent was excluded.

                   e. Respondents were also required to enter their state of residence and zip code, and

                       if these data conflicted with one another, the respondent was excluded.

                   f. Respondents were excluded if they work for or have a household member who

                       works for a car, SUV/crossover, minivan, or truck dealership; for a company that

                       makes or manufactures cars, SUVs/crossovers, minivans, or trucks; or for a

                       company that makes or manufactures parts for cars, SUVs/crossovers, minivans,

                       or trucks. Respondents were also screened out if they or a household member



   17   Diamond, pp. 410-411.
   18“reCAPTCHA uses an advanced risk analysis engine and adaptive challenges to keep automated software from engaging in
    abusive activities.” https://www.google.com/recaptcha/intro/v3.html, accessed October 5, 2020.


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                      works for an auto shop or garage that repairs these same types of vehicles, or if

                      they or a household member works for a market research or advertising

                      company.19

                 g. Respondents who indicated that they did not understand or were unwilling to

                      adhere to the survey instructions were also screened out of the survey.

                 h. The survey was tested, and the initial results were reviewed by NERA

                      researchers, to ensure that there were no errors in the programming; that

                      respondents were able to view the images; and that respondents were able to

                      understand and answer the questions as asked.

                 i. A series of sensitivity checks were performed to determine whether there were

                      any differences in consumer perceptions and preferences by respondent

                      demographics and subgroups.

   D.         Screening Questionnaire

           25.        To ensure that panel respondents were part of the relevant population as defined, a

  series of screening questions was asked. Only respondents who met these qualifying conditions

  continued with the main survey. To qualify for the survey, respondents had to meet the following

  criteria:

                 a. Be 18 years of age or older;

                 b. Live in the U.S.;

                 c. Report that neither they, nor anyone in their households, are employed in any of

                      the following: a market research or advertising company; a company that makes

                      or manufactures cars, SUVs/crossovers, minivans, or trucks or parts for these


   19This is a standard research approach to avoid including respondents who are likely to have specialized knowledge about the
    survey topic or the survey methodology.


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                      vehicles; or works at a dealership, auto shop or garage that sells/works on these

                      types of vehicles;

                   d. Report that they had not taken a survey on cars, SUVs/crossovers or minivans or

                      parts for these vehicles in the past three months;

                   e. Had to be considering purchasing a new car within the next one or two years;

                   f. Had to be considering purchasing a Toyota brand vehicle; and

                   g. Had to be considering purchasing a four-door sedan or compact vehicle.20

           26.        Once qualified for the study, respondents were taken to the vehicle review and

  HVAC Disclosure exercise portion of the questionnaire.

   E.       Vehicle Review Pages and HVAC Disclosure

              1.     Online Vehicle Reviews
           27.        Consumers commonly review and rely on online information when thinking about

  or researching a car purchase. Online reviews allow consumers to compare vehicles, focus on the

  vehicle traits or characteristics important to them, read customer and expert reviews, and evaluate

  the vehicle price without being in a pressurized sales environment. In fact, a number of recent

  studies demonstrate that consumers spend the majority of their vehicle shopping time online. In

  one recent example, a study of car buyers found that 64 percent of consumers’ vehicle shopping

  time was spent online.21




   20Initially respondents could qualify only if they selected four-door sedan; I later allowed respondents to select compact since the
    delineation between sedan and compact may not be precise in potential purchasers’ minds. There were only two respondents
    who qualified because they indicated they would purchase a compact vehicle only.
   21Cox Automotive. 2020 Cox Automotive Car Buyer Journey. https://b2b.autotrader.com/app/uploads/2020-Car-Buyer-Journey-
    Study.pdf, accessed October 5, 2020, p. 6 (hereafter “2020 Cox Automotive Study”). For Toyota purchasers, this study indicates
    48 percent use third-party websites (p. 49). Similar percentages are reported in other studies. For example, see, Statista. (2020).
    Distribution of time a car buyer spent getting a vehicle in the United States (US) in 2015.
    https://www.statista.com/statistics/788261/time-spent-vehicle-buying/, accessed October 5, 2020, which reports that car buyers
    spend 59 percent of their time getting a vehicle doing research and online shopping.


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              28.        Research related to the purchase of new vehicles indicates that third-party

  websites (as opposed to dealer or OEM sites) are the most influential on consumers. A 2020

  study of over 3,000 recent car purchasers found that 81 percent of used car buyers visited at least

  two websites and more than two-thirds of all buyers indicated that a third-party site was the first

  and last site visited before purchasing a vehicle.22 Another study found that at least 60 percent of

  automotive consumers (the percentage varies by age group) indicated that third-party vehicle

  reviews had a significant influence on their purchasing decisions,23 and another found that

  reviews and articles from third-party websites or blogs increased consumers’ purchase

  consideration for new automobiles.24

              29.        Additionally, certain named Plaintiffs in this matter indicated in their deposition

  testimony that they used third-party website information in conducting research for the purchase

  of their Putative Class Vehicle. For instance, they stated that they looked at reviews or other

  information available through third-party reports, such as Consumer Reports25 or the Kelley Blue

  Book.26 Some of the Plaintiffs also noted that they conducted this research to learn about the

  vehicles’ features.27




   22   2020 Cox Automotive Study, p. 26.
   23Deloitte. (2014). Global automotive consumer study: Exploring consumers’ mobility choices and transportation decisions.
    https://www2.deloitte.com/content/dam/Deloitte/us/Documents/manufacturing/us-auto-global-automotive-consumer-study-
    100914.pdf, accessed October 6, 2020, p. 19. The research indicates that 70 percent of “Gen Y” and 59 percent of “Other
    generations” agree that car reviews on independent websites are a significant influence on their purchase decision.
   24Nielsen and InPowered (March 2014). The role of content: In the consumer decision making process.
    https://inpwrd.com/the_role_of_content_inpowered.pdf, accessed October 6, 2020.
   25
    See, e.g., September 25, 2020 Deposition of Kurt Wayne Kirton, at p. 29:25 – 30:4; September 17, 2020 Deposition of Rodney
    Baker, p. 62:20 – 63:14, 129:3 – 24, 202:19 – 23.
   26   See, e.g., September 25, 2020 Deposition of Kurt Wayne Kirton, p. 30:9-10.
   27   See, e.g., September 25, 2020 Deposition of Kurt Wayne Kirton, p. 29:21 – 30:10.


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                 2.    Kelley Blue Book
              30.       In deciding how to structure my survey, I reviewed a number of third-party car

  review sites, including Consumer Reports, Edmunds, and MotorTrend.28 For this survey, I

  elected to use reviews from the Kelley Blue Book website (kbb.com).

              31.       The Kelley Blue Book website is a well-known and widely utilized source of

  vehicle reviews.29 A 2020 survey indicated that 55 percent of new car buyers and 63 percent of

  used car buyers used the Kelley Blue Book.30 The analogous 2019 study also indicated that it is

  the leading site for customer and expert reviews, information on vehicle specifications, research

  on brands, and research on vehicle features.31 The Kelley Blue Book also appears on a number of

  lists for best or most trusted car review sites.32 In addition, a recent survey by Maritz indicates

  that sizeable proportions of Camry and Camry Hybrid purchasers, specifically, reported that third-

  party websites (such as the Kelley Blue Book) are important sources of information in their car

  purchasing (42 and 52 percent, respectively),33 and even larger numbers – 70 and 78 percent,

  respectively – indicated that consumer guides (such as Consumer Reports) were important.




   28These sites are available at https://www.consumerreports.org/cro/index.htm (Consumer Reports), https://www.edmunds.com/
    (Edmunds), and https://www.motortrend.com/ (MotorTrend).
   29Cox Automotive, the owner of the Kelley Blue Book site, indicates that it is the number one third-party website used by
    consumers to research and shop for a car (2020 Cox Automotive Study, p. 8) and that the Kelley Blue Book website is used by
    55 percent of new car buyers and 63 percent of used car buyers (2020 Cox Automotive Study, pp. 19, 29). Additionally, the
    website traffic estimator SimilarWeb estimates that the Kelley Blue Book website received over 19 million visits in August
    2020. https://www.similarweb.com/website/kbb.com#referrals, accessed October 6, 2020.
   30   2020 Cox Automotive Study, pp. 19, 29.
   31Cox Automotive. 2019 Cox Automotive Car Buyer Journey. https://www.coxautoinc.com/learning-center/2019-car-buyer-
    journey-study/, accessed October 6, 2020, p. 26 (hereafter “2019 Cox Automotive Study”).
   32See, e.g., https://www.autopayplus.com/6-best-car-review-sites-where-to-find-best-car-reviews/, accessed October 6, 2020;
    https://lifehacker.com/five-best-car-comparison-sites-1670698359, accessed October 5, 2020;
    https://www.nydailynews.com/autos/street-smarts/5-best-websites-tools-apps-buying-car-article-1.2951439, accessed October
    6, 2020; https://www.doughroller.net/cars/get-the-best-deal-buying-or-selling-your-car-with-these-7-sites/, accessed October 6,
    2020.
   33“Importance” is defined as the proportion of respondents to the survey who said that the information source was “somewhat”,
    “very”, or “extremely important”. TOY-CARDENAS-00097779.


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           32.        The Kelley Blue Book has review pages for a large variety of vehicles, including

  Toyota brand vehicles. An advantage of vehicle reviews on the Kelley Blue Book site is the

  listing of the vehicles’ “pros and cons” shown at the top of the review page, as well as

  descriptions of other pertinent information provided across all vehicles. The short lists of

  positives and negatives, appearing at the top of the page, provide a succinct and focused summary

  of the vehicle’s characteristics to the reader.34 The listing of “cons,” in particular, provides an

  area on the review page where information related to the potential for HVAC odor from an

  alleged HVAC design problem might reasonably appear.

           33.        Since the survey screened for individuals who are in the market for a new vehicle

  (and who would therefore be potentially considering information about an HVAC defect), I tested

  Kelley Blue Book vehicle reviews for the 2020 models of the Camry and Camry HV Class

  Vehicles.

           34.        All respondents were assigned to view a review page which matched the vehicle

  type they indicated they would consider purchasing in the next year or two; a four-door sedan.35

  All respondents were shown a vehicle review page of the 2020 Toyota Camry. In addition to

  showing respondents a review for a model of vehicle corresponding to the brand and type of

  vehicle matching their interests, I also considered a respondent’s preference for a hybrid vehicle.

  If a respondent indicated that she would only consider purchasing a hybrid, she was shown a

  review page for the Toyota Camry HV.36




   34In fact, this aspect of the review format is appreciated and specifically noted by a number of respondents and is discussed
    below in ¶ 53.
   35As noted above in footnote 19, there are two respondents who qualified because they indicated they would purchase a compact
    vehicle only (i.e., they did not also indicate they would purchase a four-door sedan).
   36Other respondents who indicated that they would consider purchasing both a hybrid and gas engine were also shown the
    hybrid. In all, there were 272 respondents who were shown the Camry hybrid version.


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          35.        While not typically present on the Kelley Blue Book vehicle review page, I also

  included a manufacturer’s suggested retail price – or MSRP – in the review for each vehicle

  included in my survey.37 Including the MSRP ensures that respondents in both the Disclosure and

  Non-Disclosure Groups had the same price in mind when evaluating the vehicle.

              3.   The HVAC Disclosure
          36.        For the Non-Disclosure Group, respondents were shown a Kelley Blue Book

  review for the 2020 Camry or Camry Hybrid vehicle with two additions: 1) as discussed above, I

  included the vehicle’s MSRP; and, 2) I included positive/neutral and negative aspects or

  characteristics of the vehicle that appeared to respondents as blue, underlined hyperlinks leading

  to additional information on the review site. These hyperlinks signaled to respondents that these

  characteristics were potentially important, were being emphasized within the review, and also

  provided access to additional, more detailed information. An example of these links as they

  appeared in the Non-Disclosure Group is shown in Figure 1 – the links are enclosed here with red

  boxes for illustrative purposes only. The red boxes were not present in the survey shown to

  respondents, and otherwise the survey appeared to respondents as shown below.

                         Figure 1: Example of Screen from Non-Disclosure Group




   37The MSRP information was sourced from Edmunds.com for the Camry vehicles in my survey as it was not readily available on
    the Kelley Blue Book review site for new vehicle models. The price displayed in my survey is the average of the high and low
    MSRP prices listed. Information for the Camry was obtained from https://www.edmunds.com/toyota/camry/ (accessed
    September 8, 2020), and information for the Camry Hybrid was obtained from https://www.edmunds.com/toyota/camry-hybrid/
    (accessed September 8, 2020).


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         37.      I identified which relevant neutral and negative characteristics to include as

  hyperlinks by reviewing both the Camry and the Camry Hybrid listings on the Kelley Blue Book

  site. Both vehicles featured neutral characteristics of combined fuel economy and horsepower

  that were featured prominently at the top of the page, and I therefore included these as part of the

  hyperlinked information. For negative characteristics, both the Camry and Camry Hybrid models

  had the characteristic of “no manual transmission,” which applied to both vehicle models (as

  opposed to the other “con” that only applied to the hybrid model, though it was shown on both

  model pages); thus, I added a hyperlink to this feature for consistency. I retained the full list of

  “pros” which was the same for both the Camry and Camry Hybrid models.


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              38.        In the Disclosure Group, I included an additional negative characteristic, the

  HVAC Disclosure. Every respondent in the Disclosure Group was shown the following

  information as a third bullet point under the “cons” section:

              Toyota has disclosed that the HVAC system in Camry and Camry HV models may emit a
              musty, damp, and/or sour odor. HVAC system odor has many causes, and may be caused
              by a design that allows condensing water to accumulate and for naturally occurring
              organic materials to be trapped in the system.

              39.        Each respondent in the Disclosure Group also was provided with a link, indicated

  in blue above, that would take them to a pop-up containing additional information. When clicked,

  the additional information read:

           The musty, damp, and/or sour odor is most noticeable when the air conditioner is
           first turned “ON” after the vehicle has been parked for several hours.
           There is no way to eliminate this odor, but there are available steps and maintenance
           items not covered by warranty to help reduce its intensity. There will be no
           advanced warnings prior to the existence of this condition; you will become aware of
           it if it occurs.
              40.        The HVAC Disclosure was longer and thus more prominent and obvious than the

  other positive or negative information in this prominent portion of the review. Examples of each

  of the reviews with the HVAC Disclosure are shown below in Figure 2 – for each model, the first

  page containing the hyperlinks is shown, followed by the page the respondent would see if he or

  she clicked on the HVAC Disclosure hyperlink.38




   38   Full-sized copies of the review pages included in my survey are included as Exhibit F.


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                    Figure 2: Vehicle Reviews with HVAC Disclosure




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                    Figure 2: Vehicle Reviews with HVAC Disclosure




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                    Figure 2: Vehicle Reviews with HVAC Disclosure




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                                 Figure 2: Vehicle Reviews with HVAC Disclosure




              41.        To create the appropriate HVAC Disclosure language to test Plaintiffs’ theory, I

  reviewed a number of sources, including Plaintiffs’ Complaint and the Toyota Defendants’

  Technical Service Bulletins (“TSBs”). The description is consistent with the language used in

  TSBs, both on their own and as described in Plaintiffs’ Complaint.39 It is also consistent with

  other allegations in the Complaint, including Plaintiffs’ description of the alleged HVAC defect.40

              42.        There are additional factors that make the HVAC Disclosure provided robust.

  First, the HVAC Disclosure language I used specifically indicates that the information is being

  provided by the manufacturer – here, Toyota is informing consumers that there is a potential

  issue. Second, the HVAC Disclosure appears within the context of a trusted, third-party website

  that, as described above, is known and relied upon by consumers for its objective vehicle reviews.



   39Complaint, ¶¶ 79-83; see also September 2013 TSB (TOY-CARDENAS-00136354) and April 2015 TSB (TOY-CARDENAS-
    00115282).
   40   Complaint, ¶¶ 3-4, 60.


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  Third, the HVAC Disclosure is shown in a section clearly listing negative characteristics

  associated with the vehicle and, therefore, is characterized for the consumer as a drawback they

  may want to consider before purchasing.

              43.        Additionally, the HVAC Disclosure aligns with what the named Plaintiffs in this

  case testified should have been disclosed by the Toyota Defendants. For example, Javier

  Cardenas testified that the disclosure should have been that “[t]here’s a faulty system in the car

  that will release an odor with (sic) you turn the AC on.”41 Plaintiff Rodney Baker testified that

  even less information would have been a sufficient disclosure—that is, the Toyota Defendants

  should have simply disclosed the potential for vehicle odor.42 The HVAC Disclosure featured in

  my survey is more descriptive and robust than the information Plaintiffs described as sufficient

  for the disclosure they are seeking.

   F.          Questionnaire

              44.        Prior to viewing the review page (either Disclosure or Non-Disclosure)

  respondents were provided with the following instructions:

              Thank you for participating in today’s survey. If you do not know or do not have
              an opinion about any of the questions, please select “Don’t know / unsure.” Please
              do not guess.

              Imagine you were gathering information about vehicles you might consider
              purchasing and you came across the following. Please review this information as
              you normally would if you were considering making a vehicle purchase.

              45.        Next, respondents were randomly assigned to either the Disclosure or the Non-

  Disclosure Group. After looking at the vehicle review page,43 respondents needed to confirm that

  they were able to see the information clearly before they could continue; otherwise, they were


   41   September 24, 2020 Deposition of Javier Cardenas, p. 153:19-22.
   42   September 17, 2020 Deposition of Rodney Baker, p. 197:10-16.
   43   Respondents were required to look at the review page for a minimum of five seconds.


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  screened out. Qualified respondents were then asked a series of questions. When asked questions

  about their impressions of the vehicle, a thumbnail of the vehicle review page was featured above

  the question. Therefore, while responding to every question about the vehicle, a respondent could

  access the HVAC Disclosure information and any other information in the review that was

  relevant to her or him.

           46.        Respondents were first asked to identify what information in the vehicle review, if

  any, was important to them. This question was asked as an open-ended question, allowing

  respondents to identify all aspects of the vehicle shown or information in the review that was

  important or salient to them. The exact phrasing of this question was: “What information in this

  review, if any, is important to you?” and it was followed up with a second question “Anything

  else?”

           47.        After asking this general question, I followed with an additional series of

  questions, asking respondents to specifically identify positive or negative aspects of the vehicle.

  First, respondents were asked a filter question:44

        Q. Is there any information in this review that positively affects your perception of this
        vehicle?

            1. Yes
            2. No
            3. Don’t know / unsure

   Followed by an open-ended question, “What information in this review positively affects your

   perception of this vehicle?” for anyone who answered “yes,” in response to the filter question.

           48.        Respondents were then asked two analogous questions about information in the

  review that may have negatively affected their perception of the vehicle. These questions were:



   44The “yes” and “no” response options in this question, and all other comparable questions, were rotated in order to guard
    against order bias.


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       Q. Is there any information in this review that negatively affects your perception of this
       vehicle?

            1. Yes
            2. No
            3. Don’t know / unsure

  This was followed by an open-ended question, “What information in this review negatively

  affects your perception of this vehicle?” for anyone who answered “yes,” in response to the filter

  question.

         49.      Asking respondents what is “important” about the vehicle or the review provides

  data on the extent to which the HVAC Disclosure is viewed as noteworthy at all. But, because a

  question about “importance” could have suggested to respondents that they only focus on positive

  aspects of the vehicle, my survey included additional clarifying questions to specifically elicit

  their positive and, more importantly, negative perceptions of the vehicle. Finally, respondents

  were asked a question designed to measure what impact, if any, the review had on their interest in

  purchasing the vehicle shown. This final question allows me to determine the aggregate impact

  of the HVAC Disclosure on consumer preferences, regardless of whether respondents specifically

  identified the alleged HVAC defect as important or not. The specific phrasing of this question

  was: “Based on the information in this review, how interested would you be in purchasing this

  vehicle?” and respondents selected their response from five options ranging from “Very likely” to

  “Very unlikely.”

         50.      Upon completion of the survey, respondents were thanked for their time.

      VI.      SURVEY RESULTS

         51.      A total of 412 respondents completed the survey. The data are attached as

  Exhibit G. The respondents in my survey represent a broad range of prospective Toyota




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  purchasers. As shown in Table 1, respondents are from across the four Census Regions of the

  United States.

                       Table 1. Geographic Distribution of Survey Respondents

                                             Disclosure             Non-Disclosure
                          Region         Count     Percent        Count    Percent
                     Northeast             40        19.5%          40        19.3%
                     Midwest               35        17.1%          37        17.9%
                     South                 91        44.4%          85        41.1%
                     West                  39        19.0%          45        21.7%
                     Total Respondents    205      100.0%          207      100.0%

                     Source: NERA Auto Review Survey, September - October 2020



               52.       Respondents are also a range of ages and genders as shown in Table 2.

                   Table 2. Age and Gender Distribution of Survey Respondents

                                                 Male                     Female
                        Age Group        Count     Percent        Count      Percent
                     18-34                 47         18.9%         38          23.3%
                     35-54                 97         39.0%         57          35.0%
                     55+                  105         42.2%         68          41.7%
                     Total Respondents    249       100.0%         163       100.0%

                        Source: NERA Auto Review Survey, September - October 2020

         53.       In both the Disclosure and the Non-Disclosure Groups, respondents indicated that

  a range of characteristics of the Camry and Camry Hybrid vehicles, and information in the

  review, was important. For example, many respondents noted that price, gas mileage, and safety

  were important. Respondents also noted the importance of the following characteristics: vehicle

  safety, size, spaciousness, amount of seating, engine characteristics such as size/horsepower, the

  body style or styling of the vehicle, and interior features or amenities. For example, Respondent

  376919941 reported that “Miles per gallon, safety, reliability, comfort, price and options.” were

  important. Respondent 395496661 explained, “What it looks like, how it drives, how comfortable

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  it is, what the inside panel looks like, if it's gas/hybrid/electric, how many miles per gallon, the

  colors available, reviews from other consumers,” and Respondent 331788901 stated “Miles per

  gallon, total price, Horse Power, MSRP estimate and estimates for prices on different specs for

  this model. The amount of script and detail in this review is very useful and helps to think about

  the vehicle. The amount of reviews are helpful and the images help a lot for evaluating and

  making a decision.”45

              54.        It is worth noting that 16.5 percent of respondents specifically referenced the

  “pros and cons” listed on the review site when asked what was important.46 These answers

  indicate that not only were respondents reviewing the listed advantages and disadvantages of the

  vehicle described, but also demonstrate that the specific format of this information was helpful

  and useful to respondents.

              55.        There were only nine respondents, or 4.4 percent of the total Disclosure Group,

  who mentioned HVAC odor when asked to indicate what in the review was important to them.47

  This very low rate demonstrates that while individuals value different features, the overall impact

  of the HVAC Disclosure is insignificant.

              56.        As shown below in Table 3, the majority of respondents in both the Disclosure

  and Non-Disclosure groups, 75.6 percent in the Disclosure Group and 83.6 percent in the Non-


   45   These and other verbatim responses are included in the final data set, Exhibit G.
   46This count does not include individuals who only mention specific vehicle characteristic(s) listed under the “pro” or “con”
    section. Rather, it is a count of those who identified the specific format of the information as being important or helpful (i.e.,
    they actually mentioned some variation of “pros and/or cons”).
   47These respondents were Respondent 291906021 “The car is a V6. Car may have an odor from the HVAC system”; Respondent
    299011701 “disclosure that the car might have a damp musty smell--who the hell needs that? I read further but did not really
    have to based on that. YUCK!”; Respondent 311974941 “What’s new for 2020, PROS AND CONS that damp smell in the
    HVAC”; Respondent 345736141 “the fact that the HVAC system smells or something like that. it seems like it is a bad car
    overall. smelly, battery dies quickly,. user reviews were most important really.”; Respondent 378180941 “the comment about
    the hvac system smelling musty”; Respondent 388724701 “The pros/cons, the mpg, the hvac information, etc.”; Respondent
    390903781 “I was VERY disappointed to see the news about musty HVAC and the demise of brand-new batteries. Everything
    else seemed appealing... I am feeling like the HVAC and battery issues are dealbreakers for me.”; Respondent 413165941 “That
    AWD was available, good ride and interior. But the musty smell concerns me.”; Respondent 415214501 “The funky smell of
    the HVAC system”.


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  Disclosure Group, indicated that there was information in the review that positively affected their

  perception of the vehicle.

                          Table 3. Positive Perception of Vehicle in Review

                                                  Disclosure                 Non-Disclosure
                   Response Option            Count     Percent            Count    Percent
                   Yes                         155        75.6%             173        83.6%
                   No                           31        15.1%              22        10.6%
                   Don't know / unsure          19         9.3%              12         5.8%
                   Total Respondents           205      100.0%              207      100.0%

                 Q3. Is there any information in this review that positively affects your perception
                 of this vehicle?

                        Source: NERA Auto Review Survey, September - October 2020

         57.      These results suggest that while the impact of the HVAC Disclosure varies by

  consumer, the overall rate at which consumers find positive information in the review does not

  differ substantially by whether the HVAC Disclosure is present or not. The large majority of

  respondents, regardless of whether they were provided with information about potential HVAC

  odor, indicated that there was information in the review that positively affected their perception of

  the vehicle. In response to the open-ended question, respondents frequently mentioned aspects of

  the vehicle, such as the price, gas mileage, and engine type. They also noted a diverse array of

  features, such as safety, the vehicle’s style/appearance, customer ratings, and interior features as

  positively affecting their perception of the vehicle.

         58.      As shown in Table 4, consumers vary in whether they perceive any negative

  aspects of the vehicle. A total of 61.0 percent of consumers shown the HVAC Disclosure

  indicated that they had no negative perceptions of the vehicle. In other words, even when

  provided with a paragraph describing the alleged HVAC defect using language more extensive

  than that requested by named Plaintiffs, the majority of consumers do not view this information as


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  a salient or material negative aspect of the vehicle. Only 38.0 percent of consumers shown a

  review with the HVAC Disclosure indicated that they had some negative perception of the

  vehicle, and as discussed below, many of these 78 consumers (i.e., 38% of the Disclosure Group)

  noted negative aspects of the vehicle aside from the information presented through the HVAC

  Disclosure.

                               Table 4. Negative Perception of Vehicle in Review

                                                         Disclosure                     Non-Disclosure
                       Response Option               Count     Percent                Count    Percent
                       Yes                             78        38.0%                  35        16.9%
                       No                             125        61.0%                 167        80.7%
                       Don't know / unsure              2         1.0%                   5         2.4%
                       Total Respondents              205      100.0%                  207      100.0%

                     Q5. Is there any information in this review that negatively affects your
                     perception of this vehicle?

                             Source: NERA Auto Review Survey, September - October 2020

           59.        When asked what information negatively affected their perception of the vehicle,

  the answers differed by respondent and included things such as the vehicle’s ratings, reviews, and

  the “cons” listed on the review page. As shown in Table 5, only 31 respondents in the Disclosure

  Group, or 15.1 percent, mentioned the information presented through the HVAC Disclosure in

  response to Question 6.48




   48Each of the nine respondents who mentioned HVAC or HVAC odor in response to Questions 1 and 2 also mentioned it in
    response to Question 6 when describing the information in the review that negatively affects their perception of the vehicle.


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               Table 5. Mentions of HVAC or HVAC Odor as Negative Perception

                                                                            Disclosure
                              Response Option                           Count     Percent
                    Mentioned HVAC or HVAC Odor                           31        15.1%
                    Did not mention HVAC or HVAC Odor                     47        22.9%
                    Not answered                                         127        62.0%
                    Total Respondents                                    205      100.0%

                  Q6. What information in this review negatively affects your perception of this
                  vehicle?

                    Source: NERA Auto Review Survey, September - October 2020

         60.      Even when shown the HVAC Disclosure, respondents were more likely to

  identify other, non-HVAC aspects as negative, such as the size of the vehicle, the driving

  experience, the performance, and the customer review section. Of the 78 respondents in the

  Disclosure Group who indicated that there was information in the review that negatively affected

  their perception of the vehicle, 60.3 percent identified something that negatively affects their

  perception other than the HVAC Disclosure and did not identify the HVAC Disclosure.

         61.      The survey results demonstrate that what affects a consumer’s negative perception

  of a Putative Class Vehicle varies and the extent to which the potential for a “musty, damp, or

  sour” HVAC odor negatively impacts perceptions of a Putative Class Vehicle depends on the

  individual. The results also demonstrate that while some respondents viewed the HVAC

  Disclosure as negative information, a larger number of respondents did not mention the HVAC

  Disclosure and identified other aspects of the vehicle as negative.




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              62.        In addition to evaluating the extent to which consumers viewed the HVAC

  Disclosure and reported it as a “negative,”49 my study evaluated the potential impact of this

  Disclosure on consumers’ purchasing intentions. To test Plaintiffs’ allegations that the allegedly

  omitted information about HVAC odor was material to all putative class members, that had the

  HVAC information been disclosed, all putative class members would have paid less or not

  purchased or leased the Putative Class Vehicle at all, and that all putative class members have

  been similarly harmed,50 respondents were asked to indicate how interested they would be in

  purchasing the Camry or Camry Hybrid featured in the review at the price listed.

              63.        As shown below in Table 6, the survey data demonstrate that consumers within

  the Disclosure Group would react differently to the HVAC Disclosure. Even when shown the

  HVAC Disclosure, only 19 respondents (approximately 9.3% of the Disclosure Group) stated that

  they were “somewhat unlikely” or “very unlikely” to purchase the vehicle, and only eight of these

  (or 3.9% of the total) indicated that the HVAC Disclosure was a negative aspect of the vehicle.51

  The small proportion of consumers who view the HVAC Disclosure as negative, and the even

  smaller proportion (only 3.9%) who indicate that that Disclosure would potentially affect their

  purchase demonstrate that the impact of the HVAC Disclosure is highly individualized. In fact,

  the vast majority of respondents in the Disclosure Group, 79.5%, said they would be “very likely”

  or “somewhat likely” to purchase the vehicle, notwithstanding the HVAC Disclosure. These

  results are shown below in Table 6.


   49In fact, some respondents who reported the HVAC Disclosure as a negative may have simply been indicating that this
    information was listed prominently on the webpage under the “Cons” section of the “Pros and Cons” of the vehicle.
   50   Complaint, ¶¶ 10-12, 15, 24, 33, 37, 39, 139, 140, 175, 197.
   51Notably, more than half of the respondents (18 of the 31 or 58.1%) who indicated that the HVAC Disclosure was a negative
    aspect of the vehicle also indicated that they would be “very likely” or “somewhat likely” to purchase the vehicle. An additional
    five respondents indicated that they were neither likely nor unlikely to purchase the vehicle. These results further demonstrate
    even amongst this small group, the impact of the HVAC Disclosure is variable and can only be determined through an
    individual inquiry.


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               Table 6. Purchase Interest by Disclosure and Non-Disclosure Groups

                                                 Disclosure                Non-Disclosure
                   Response Option           Count     Percent           Count    Percent
                   Very likely                 84        41.0%            103        49.8%
                   Somewhat likely             79        38.5%             65        31.4%
                   Neither likely nor unlikely 22        10.7%             18         8.7%
                   Somewhat unlikely           10         4.9%             12         5.8%
                   Very unlikely                9         4.4%              7         3.4%
                   Don't know / unsure          1         0.5%              2         1.0%
                   Total Respondents          205      100.0%             207      100.0%

                 Q7. Based on the information in this review, how interested would you be in
                 purchasing this vehicle?

                    Source: NERA Auto Review Survey, September - October 2020

         64.      Even more importantly, as Table 6 shows, both the Disclosure and Non-

  Disclosure Groups were equally likely to indicate that they were “very likely” or “somewhat

  likely” to purchase the vehicle – 79.5 percent compared to 81.2 percent, respectively. These

  results are statistically indistinguishable. These results demonstrate that, in the aggregate, the

  HVAC Disclosure had no overall effect on the purchase intentions of respondents. Regardless of

  the individual perceptions of the HVAC Disclosure as negative for a small share of individuals,

  the impact of this information on overall purchasing behavior is nonexistent.

         65.      These results are also consistent when looking at the results across respondent

  subgroups by demographics, such as age, gender, and geography, as well as for respondents who



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  viewed the hybrid and gas Camry model.52 In particular, when I look at the results for the South

  Census region, I find that 81.3 percent of respondents shown the HVAC Disclosure are “very

  likely” or “somewhat likely” to purchase the vehicle compared to 82.4 percent in the Non-

  Disclosure group.53 Again, these results are statistically indistinguishable.

          VII.      CONCLUSIONS

              66.        I tested the potential impact of a HVAC Disclosure on consumers who were

  considering purchasing a Toyota Camry or Camry Hybrid vehicle. Using vehicle reviews from

  the Kelley Blue Book (a well-known, trusted review site, used by consumers including Plaintiffs),

  I designed a survey to assess whether consumers would view a disclosure about the alleged

  HVAC defect negatively and whether the disclosure would impact purchasing decisions.

              67.        My results demonstrate that perceptions of what aspects of the vehicle are viewed

  negatively, including the HVAC Disclosure, vary by individual. The survey also demonstrates

  that while some number of consumers who saw the HVAC Disclosure noted the HVAC

  Disclosure as a negative aspect of the vehicle, a larger share of these respondents noted other

  negative aspects of the vehicle. Furthermore, more than half of respondents shown the Disclosure

  did not view it as a negative at all.

              68.        More importantly, the HVAC Disclosure had no statistically significant effect on

  consumer purchasing intentions. Indeed, the interest in purchasing the vehicle shown at the price

  provided was statistically indistinguishable between those who did receive the HVAC Disclosure

  and those who did not. These results clearly demonstrate that while the impact of an HVAC

  Disclosure on the decision to lease or purchase a Class Vehicle would vary by consumer, any



   52   These results are presented in Exhibit H and Exhibit I, respectively.
   53   See Exhibit H, p. 8.


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  such HVAC Disclosure does not and would not have an overall aggregate impact on consumers.

  These results were consistent across respondent demographics and geographies.

         69.      My opinions and conclusions as expressed in this report are to a reasonable

  degree of professional and scientific certainty. My conclusions have been reached through the

  proper application of survey methods, and using standard methodologies relied upon by experts in

  the field of survey and market and consumer research. My opinions will continue to be informed

  by any additional material or information that becomes available to me. I will update and or

  supplement my opinions if Plaintiffs provide additional information. I declare under penalty of

  perjury that the foregoing is true and correct.

                                                       __________________________________

                                                       Sarah Butler, Managing Director

                                                       October 20, 2020




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                     EXHIBIT B
               (To Declaration of Sarah Butler)
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                                                                      Managing Director

                                                                      National Economic Research Associates, Inc
                                                                      4 Embarcadero, Suite 400
                                                                      San Francisco, CA 94111
                                                                      + 1 415 291 1000 Fax + 1 415 291 1010
                                                                      Direct dial: + 1 415 291 1022
                                                                      sarah.butler@nera.com
                                                                      www.nera.com




                                SARAH BUTLER, M.A.
                                    MANAGING DIRECTOR


   Ms. Butler is an expert in survey research, market research, sampling, and statistical analysis.
   She has applied her expertise in a wide range of litigation and strategic business cases. Her
   litigation and project experience includes survey research, market research, the design of
   samples, and the statistical and demographic analysis of large data files in a number of areas
   including:


   Intellectual Property

      •   Trademark and Trade Dress Infringement: Design, analysis, and critique of surveys used
          to measure consumer confusion, secondary meaning, and dilution in trademark and trade
          design infringement cases.

      •   False and Misleading Advertising: Design, analysis and critique of surveys used to
          measure consumer perceptions and the materiality of advertising claims.

      •   Patent Infringement: Sample designs and surveys to the value of patented feature of a
          larger product and to establish rates at which infringing material exist in populations of
          products.

      •   Copyright infringement: Sampling plans and analysis of the rates of infringing material
          in populations of shared information (such as through websites or other sharing medium).


   Mass Torts/Class Actions

      •   Conduct surveys and design samples providing evidence on issues of commonality and
          consumers’ awareness of key documents or facts and reliance on representations.

      •   Analyze large databases of claims files to generate invoices, estimate future liabilities and
          calculate policy shares for insurer liabilities in asbestos, tobacco and pharmaceuticals.

      •   Design, analyze and critique surveys and sampling plans used to evaluate employment
          and promotion records. Review and design surveys for purposes of estimating key facts
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           in labor class actions including time to complete activities, exempt/nonexempt activities,
           and meal and rest break issues.

   Antitrust

       •   Design, analysis and critique of surveys and other market research used as evidence of
           consumer purchasing and switching behavior in the areas of CPG, entertainment,
           automobiles, public transportation, sports and consumer electronics.

       •   Design, analysis and critique of surveys used to demonstrate consumer price sensitivities
           and willingness to pay.


   Prior to joining NERA, Ms. Butler worked in market research, conducting survey research, focus
   groups and in-depth interviews.


   Education
                    Temple University
                    Applied Sociology, coursework, exams and dissertation proposal complete
                    (2005).

                    Temple University
                    M.A. Sociology, (2000).

                    Trinity College, Dublin Ireland
                    M.Phil. (1997).

                    Wellesley College
                    B.A. Sociology and History (with honors). (1995).



   Professional Experience
   July 2006 - Present            Senior Consultant – Managing Director
                                  NERA Economic Consulting
                                  San Francisco, California, USA

   Oct 2005 – May 2006            Special Consultant
                                  NERA Economic Consulting
                                  London, England

   Jan 2003 – Oct 2005            Senior Analyst - Consultant
                                  NERA Economic Consulting
                                  Philadelphia, Pennsylvania, USA




   NERA Economic Consulting                                                                        2
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   2002 - 2003                   Consultant
                                 Integrated Marketing Associates
                                 Bryn Mawr, PA, USA

   Oct 1998 - Jan 2002           Research Associate – Analyst
                                 NERA Economic Consulting
                                 Philadelphia, Pennsylvania, USA

   Sept 1998 – May 2003          Adjunct Professor
                                 Temple University
                                 Philadelphia, Pennsylvania, USA

   Jan 1997 – Feb 1998           Manager of Member Research
                                 Society for Neuroscience
                                 Washington DC, USA


   Expert Analysis and Testimony
   Nirvana LLC v. Marc Jacobs International LLC.* United States District Court Central District of
   California. Survey related to secondary meaning. [Expert Report: September 8, 2020.
   Deposition: October 20, 2020.]

   Girl Scouts of the United States of America* v. Boy Scouts of America. United States District
   Court Southern District of New York. Review of survey report in a likelihood of confusion
   matter. [Expert Report: September 9, 2020. Deposition: October 16, 2020.]

   TreeHouse Foods, Inc., Bay Valley Foods, LLC, and Strum Foods, Inc.,* v. Keurig Green
   Mountain, Inc. United States District Court for the Southern District of New York. Surveys
   related to false advertising, and antitrust claims. Report on testing evidence. [Expert Report:
   August 28, 2020.]

   American Dairy Queen Corporation v. W. B. Mason Co. Inc.* United States District Court for
   the District of Minnesota. Surveys related to fame, dilution, and likelihood of confusion. [Expert
   Report: August 28, 2020.]

   Seven Networks, LLC v. Apple Inc.* United States District Court for the Eastern District of
   Texas Marshall Division. Conjoint survey and expert report related to mobile phone features.
   [Expert Report: July 13, 2020. Deposition: July 23, 2020.]

   Brian Gozdenovich et al., v. AARP Inc., AARP Services, Inc., AARP Insurance Plan,
   UnitedHealth Group, Inc., and UnitedHealthCare Insurance Company.* United States District
   Court District of New Jersey. Expert rebuttal report of survey related to estimating value. [Expert
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   Barbara Lewis, et al., v. Rodan & Fields, LLC.* United States District Court Northern District of
   California Oakland Division. Survey and expert report to assess consumer perception about
   eyelash serum. [Expert Report: July 2, 2020. Deposition: July 20, 2020.]

   Austin Rugg v. Johnson & Johnson Consumer Inc.* United States District Court Norther District
   of California San Jose Division. Survey and expert report in a false advertising matter. [Expert
   Report: June 22, 2020.]

   New NGC, Inc. d/b/a National Gypsum Company, NGC Industries, LLC, and National Gypsum
   Properties,* LLC v. Alpinebay, Inc. Survey and expert report to evaluate likelihood of consumer
   confusion. [Expert Report: June 18, 2020. Deposition: August 6, 2020]

   Glaxo Group Limited* v. Respirent Pharmaceuticals Co., LTD. United States District Court
   Southern District of New York. Survey and expert report on likelihood of consumer confusion.
   [Expert Report: June 15, 2020.]

   Caryn Gorzo, et al., v. Rodan & Fields, LLC.* The Superior Court of California County of San
   Francisco. Survey and expert report to assess consumer perception about eyelash serum. [Expert
   Report: June 15, 2020.]

   Kaifi LLC v. AT&T Inc.; AT&T Corp.; AT&T Communications, LLC; AT&T Mobility, LLC;
   and AT&T Services, Inc.* United States District Court Eastern District of Texas Marshall
   Division. Survey and expert report related to patent infringement matter. [Expert Report: June 1,
   2020. Deposition: June 8, 2020.]

   CFA Institute v. American Society of Pension Professionals & Actuaries, et. al.* United States
   District Court for the Western District of Virginia, Charlottesville Division. Rebuttal survey
   evaluating claims of likelihood of confusion. [Expert Report: April 14, 2020. Deposition: May
   14, 2020.]

   Vicky Maldonado, et. al., v. Apple, Inc.* United States District Court, Northern District of
   California, San Francisco Division. Rebuttal conjoint survey testing damages claims. [Expert
   Report: March 13, 2020.]

   Match Group LLC* v. Bumble Trading Inc., Bumble Holding, LTD., Badoo Trading Limited,
   Magic Lab Co., Worldwide Vision Limited, Badoo Limited, Badoo Software Limited, and
   Badoo Technologies Limited. United States District Court for the Western District of Texas,
   Waco Division. Secondary meaning survey and rebuttal report. [Expert Report: March 3, 2020.
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   ClearPlay, Inc. v. Dish Network, L.L.C. and Echostar Technologies, L.L.C.* United States
   District Court, District of Utah, Central Division. Expert report evaluating surveys used to
   inform allocation in patent infringement matter. [Expert Report: February 21, 2020.]




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   District of California. Survey and expert report to evaluate label statements on acetaminophen
   products. [Expert Report: January 23, 2020. Deposition: February 7, 2020.]

   Ohio State Troopers Association, Inc., et al., & Miguel Porras v. Point Blank Enterprises, Inc.*
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   impact of disclosure about allegedly defective product feature. [Expert Report: January 17, 2020.
   Deposition: January 27, 2020.]

   In re: Windstream Holdings, Inc., et al., Debtors. Windstream Holdings Inc., et. al.* v. Charter
   Communications, Inc. and Charter Communications Operating, LLC. United States Bankruptcy
   Court, Southern District of New York. Chapter 11, Case No. 19-22312 (RDD). Review of survey
   report in a bankruptcy matter. [Expert Report: December 5, 2019.]

   Paul Stockinger, et al., v. Toyota Motor Sales, U.S.A., Inc.* United States District Court, Central
   District of California. Survey and expert report to evaluate impact of disclosure about allegedly
   defective product feature. [Expert Report: October 21, 2019. Deposition: November 5, 2019.]

   Thomas Allegra, et. al.* v. Luxottica Retail North America, d/b/a LensCrafters, United States
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   willingness to pay for Accufit measurement system. [Expert Report: September 10, 2019.
   Deposition: December 5, 2019.]

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   Office Before the Trademark and Trial Appeal Board. Opposition No. 91227653. Survey to
   assess consumer perception and association with alcohol brand. [Expert Report: September 4,
   2019. Deposition: October 30, 2019.]

   Collin Shanks v. Jarrow Formulas, Inc.* United States District Court Central District of
   California. Survey of coconut oil purchasers and response to conjoint survey in false advertising
   matter. [Expert Report: August 4, 2019.]

   X One* v. Uber Technologies, Inc. United States District Court Northern District of California.
   Survey of ride share app features. [Expert Report: August 2, 2019. Deposition: September 19,
   2019.]

   Belcher Pharmaceuticals, LLC v. Hospira, Inc.* United States District Court for the Middle
   District of Florida, Tampa Division. Review of survey report in false advertising matter. [Expert
   Report: June 28, 2019. Deposition: July 11, 2019.]

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   Deposition: September 12, 2019.]

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   Superior Court. Survey and expert report evaluating consumer perceptions of for-profit thrift



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   store and donation center. [Expert Report: May 24, 2019. Deposition: July 17, 2019. Trial
   testimony: October 8, 2019.]

   Vital Pharmaceuticals, Inc. v. Monster Energy Company and Reign Beverage Company, LLC.*
   United States District Court Southern District of Florida. Survey and expert report related to
   consumer perception of names associated with energy drinks. [Expert Report: May 23, 2019.
   Deposition: July 15, 2019.]


   Mahindra & Mahindra, Ltd. and Mahindra Automotive North America, Inc.* v. FCA US LLC.
   United States District Court, Eastern District of Michigan. Survey and expert report on
   secondary meaning. [Expert Report: May 10, 2019. Deposition: May 30, 2019. ITC Trial
   testimony: August 22, 2019.]

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   Eastern District of Texas, Sherman Division. Survey and expert report in trademark matter.
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   Oregon Portland Division. Survey and expert report in trade dress matter. [Expert Report: April
   4, 2019.]

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   District Court Western District Southern District of California. Survey, expert report and rebuttal
   in false advertising matter. [Expert Report: April 1, 2019. Deposition: May 26, 2019.]

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   California San Francisco Division. Survey, expert report and rebuttal in false advertising matter.
   [Expert Report: March 30, 2019. Deposition: April 25, 2019. Rebuttal Report: May 6, 2020.
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   Obagi Cosmeceuticals LLC* v. ZO Skin Health, Inc. and Zein E. Obagi, M.D. JAMS Arbitration
   Proceeding. Survey and expert report in arbitration. [Expert Report: March 13, 2019. Deposition:
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   report in trademark matter. [Expert Report: January 11, 2019. Deposition: April 5, 2019.]

   James Pudlowski, Louis C. Cross, III, Gail Henry, Steve Henry v. St. Louis Rams, LLC, St.
   Louis Rams Partnership, ITB Football Company, LLC*. United States District Court for the
   Eastern District of Missouri Eastern Division. Survey and affidavit to evaluate consumer
   perceptions of information related to the Los Angeles Rams. [Affidavit: January 11, 2019.]



   NERA Economic Consulting                                                                             6
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   People of the State of California vs. The Hertz Corporation, American Traffic Solutions, Inc.,
   ATS Processing Services, L.L.C., American Traffic Solutions Consolidated, L.L.C., PlatePass,
   L.L.C.* Superior Court of the State of California County of San Francisco. Survey and expert
   report on unfair competition and false advertising issues. [Deposition: January 10, 2019.]



   Riley Johannessohn, Daniel C. Badilla, James Kelley, Ronald Krans, Kevin R. Wonders,
   William Bates, James Pinion* v. Polaris Industries, Inc. United States District Court District of
   Minnesota. Conjoint survey and expert report related to ATVs. [Expert Report: November 16,
   2018. Expert Rebuttal Report: March 21, 2019. Deposition: January 15, 2019.]

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   Northern District of Ohio Western Division Toledo. Survey and expert report in trademark
   matter. [Expert Report: November 5, 2018. Deposition: December 4, 2018.]

   Kaylee Browning and Sarah Basile v. Unilever United States, Inc.* United States District Court
   Central District of California. Expert Report in false advertising matter. [Expert Report:
   November 5, 2018. Deposition: November 19, 2018.]

   American Automobile Association of Northern California, Nevada & Utah and A3 Mobility
   LLC v. General Motors LLC and Maven Drive LLC*. United States District Court Northern
   District of California San Jose Division. Survey and expert reports to evaluate likelihood of
   confusion. [Expert Report: November 1, 2018. Expert Rebuttal Report: November 28, 2018.
   Deposition: December 6, 2018.]

   Merck & Co., Inc., and Merck Sharp & Dohme Corp. v. Merck KGaA*. United States District
   Court District of New Jersey. Expert report to evaluate likelihood of confusion. [Expert Report:
   October 30, 2018. Deposition: February 6, 2019.]

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   Department, Chancery Division. Survey and expert report to evaluate unfair and deceptive trade
   practices. [Expert Report: October 17, 2018.]

   MZ Wallace Inc. v. Sue Fuller, d/b/a/ The Oliver Thomas, and Black Diamond Group, Inc.*
   United States District Court Southern District of New York. Survey and expert report to evaluate
   likelihood of confusion. [Expert Report: September 14, 2018. Deposition: October 22, 2018.]

   Kristian Zamber v. American Airlines, Inc.* United States District Court Southern District of
   Florida Miami Division. Survey and expert report to evaluate unfair and deceptive trade
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   Wisconsin. Survey and expert report to evaluate liability and harm claims related to consumer
   perceptions in labeling matter. [Expert Report: July 30, 2018. Deposition: August 8, 2018.]



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   Superior Court State of Washington. Survey and expert report to evaluate unfair and deceptive
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   District of California San Jose Division. Expert report in trademark matter. [Expert Report: July
   6, 2018. Supplemental Report: July 20, 2018. Deposition: September 18, 2018.]

   Steven A. Conner DPM, P.C. v. Optum 360, LLC.* United States District Court Eastern District
   of Pennsylvania. Expert report in Telephone Consumer Protection Act case. [Expert Report: June
   28, 2018. Deposition: July 17, 2018.]

   Advice Interactive Group, LLC* v. Web.Com Group, Inc. United States District Court for the
   Middle District of Florida Jacksonville Division. Expert report in copyright apportionment case.
   [Expert Rebuttal Report: June 18, 2018. Deposition: June 29, 2018.]

   State of Washington* v. Comcast Cable Communications Management, LLC, et. al. State of
   Washington King County Superior Court. Survey and expert report to evaluate unfair and
   deceptive trade practices. [Expert Report: June 4, 2018. Deposition: July 31, 2018. Trial
   Testimony: December 11-12, 2018.]

   Global Brand Holdings, LLC* v. Church & Dwight Co., Inc. United States District Court
   Southern District of New York. Survey and expert report in trademark infringement matter.
   [Expert Report: May 21, 2018. Rebuttal Report: June 15, 2018. Deposition: July 11, 2018.]

   Josephine James Edwards v. Hearst Communications, Inc.* United States District Court for the
   Southern District of New York. Survey and expert report to evaluate consumer perceptions of
   information sharing. [Expert Report: April 16, 2018. Deposition May 25, 2018.]

   Forever 21, Inc.* v. Gucci America, Inc., and Guccio Gucci S.p.A. United States District Court
   Central District of California Western Division. Survey and expert report in trade dress claims
   matter. [Expert Report: March 23, 2018. Supplemental Report: April 12, 2018. Deposition May
   30, 2018.]

   Masterbuilt Manufacturing, LLC v. Wal-Mart Stores, Inc.* United States District Court for the
   Middle District of Georgia Columbus Division. Expert report in patent infringement matter
   relating to consumer demand. [Expert Report: February 23, 2018. Deposition: March 27, 2018.]

   Strategic Partners, Inc.* v. Koi Design, LLC. United States District Court Central District of
   California. Survey and expert report in trademark infringement matter. [Expert Report: February
   13, 2018.]

   Hard Rock Café International (USA), Inc., and Tarsadia Hotels v. RockStar Hotels, Inc.* United
   States District Court for the Southern District of Florida Fort Lauderdale Division. Survey and
   expert report in trademark infringement matter. [Expert Report: February 12, 2018.]



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   Ghostbed, Inc. and Werner Media Partners, LLC d/b/a Nature’s Sleep, LLC v. Casper Sleep,
   Inc., Red Antler, LLC and ICS, Inc.* United States District Court for the Southern District of
   Florida. Survey of awareness of mattress companies and advertising slogans. [Expert Report:
   January 2, 2018. Deposition: January 23, 2018.]


   Shelia Dashnaw, et. al. v. New Balance Athletics, Inc.* United States District Court Southern
   District of California. Review of expert report and contingent valuation/conjoint survey to
   evaluate consumer perceptions in false advertising claim. [Expert Report: November 8, 2017.
   Deposition: November 28, 2017.]

   State of Arizona v. Volkswagen AG, et. al.* Superior Court of the State of Arizona – Maricopa
   County. Declaration and research on purchasing behavior for luxury, specifically Porsche buyers.
   Survey of advertising materials and material impact on purchasing decisions. [Expert Report:
   November 10, 2017. Expert Report: December 14, 2017]

   Tri-Union Seafoods, LLC v. Otis McAllister, Inc.* United States Patent and Trademark Office
   before the Trademark Trial and Appeal Board. Survey and expert report on market parameters
   and customer perceptions. [Expert Report: September 27, 2017.]

   Martin Schneider, et. al. v. Chipotle Mexican Grill, Inc.* United States District Court Northern
   District of California. Review of expert report and contingent valuation/conjoint survey to
   evaluate consumer perceptions in false advertising claim. [Expert Report: September 15, 2017.
   Deposition: November 22, 2017.]

   ADT LLC, and ADT US Holdings, Inc., v. Vivint, Inc.* United States District Court Southern
   District of Florida Palm Beach Division. Expert report on sampling and data analysis. [Expert
   Report: July 24, 2017. Deposition: August 18, 2017.]

   Michael Kors, L.L.C.* v. Chunma USA, Inc. United States District Court Central District of
   California. Expert report on likelihood of confusion. [Expert Report: August 4, 2017. Deposition:
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   Deposition: August 1, 2017.]

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   advertising issues. [Expert Report: April 21, 2017. Deposition: July 10, 2017.]

   Mars Incorporated and Mars, Petcare US, Inc. v. The J. M. Smucker Company and Big Heart
   Pet, Inc.* United States District Court for the Eastern District of Virginia. Survey and expert
   report on likelihood of confusion. [Expert Report: April 6, 2017. Deposition: June 30, 2017.]




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   States District Court for Western District of Texas, Austin Division. Expert report on likelihood
   of confusion. [Expert Report: April 4, 2017. Deposition: June 22, 2017.]

   Luxe Hospitality Company, Inc.* v. SBE Entertainment Group. United States District Court
   Central District of California. Survey and expert report on genericness. [Expert Report: March 6,
   2017. Deposition: March 30, 2017.]

   Desiccare, Inc. v. Boveda, Inc.* and Charles Rutherford. United States District Court for the
   Central District of California. Survey and expert report on false advertising issues. [Expert
   Report: December 5, 2016. Deposition: January 25, 2017.]

   Scat Enterprises, Inc. v. FCA US LLC.* United States District Court for the Central District for
   California Western Division. Survey and expert report on likelihood of confusion. [Expert
   Report: November 21, 2016.]

   YETI Coolers, LLC v. RTIC Coolers, LLC.* United States District Court Western District of
   Texas, Austin Division. Survey and expert report on secondary meaning. Rebuttal of reports on
   fame, secondary meaning and likelihood of confusion. [Expert Report: November 18, 2016.
   Deposition: January 13, 2017.]

   Lifeway Foods Inc. v. Millennium Products, Inc. d/b/a GT’S Kombucha/ Synergy Drinks/
   CocoKeifer LLC.* United States District Court Central District of California. Rebuttal report to
   Plaintiff’s counsel’s survey. [Expert Report: October 17, 2016.]

   adidas America, Inc. et. al. v. Skechers USA, Inc.* District of Oregon. Portland Division.
   Surveys and expert reports to evaluate secondary meaning, likelihood of confusion, and brand
   recognition. [Expert Report: October 14, 2016. Deposition: January 10, 2016. Expert Report:
   November 6, 2015. Deposition: November 24, 2015. Preliminary Injunction testimony:
   December 15, 2015.]
   In the Matter of Certain Potassium Chloride Powder Products. United States International Trade
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   Justin Noland. Southern District of Texas. Houston Division. Expert report in trade dress
   infringement matter. [Expert Report: September 22, 2016. Preliminary Injunction Hearing
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   evidence in false advertising matter. [Expert Report: August 19, 2016. Deposition: October 7,
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   State of Oregon. Survey and analysis used as evidence in false advertising matter. [Trial
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   Survey and expert report to evaluate awareness and potential confusion related to athlete
   endorsement. [Expert Report: June 21, 2016. Rebuttal Report: August 23, 2016.]

   Noah Silver-Sky, Fabian Lozano, and Jorge Rodriguez; and ROES 1-400 v. SRAC Holdings I,
   INC., Strategic Restaurants Acquisition Company, LLC, Strategic Restaurants Acquisition
   Company II, LLC, Strategic Restaurants Acquisition Corp.* American Arbitration Association –
   Commercial Arbitration Tribunal. Statistical sample, analysis, and expert report on the impact
   and commonality of edits to workers time. [Expert Report: May 23, 2016. Deposition: August
   30, 2016.]

   Homeland Housewares, LLC and Nutribullet, LLC v. SharkNinja Operating LLC.* Central
   District of California, Western Division. Survey and expert report to evaluate misleading
   advertising claims. [Expert Report: February 19, 2016. Deposition: April 18, 2016.]

   QuickChek Corporation* v. Gold Associates, Inc. District of New Jersey. Survey and Report on
   likelihood of confusion. [Preliminary Report: January 5, 2016.]
   TOD’S S.p.A.* v. Mycoskie, LLC Respondent. United States Patent and Trademark Office -
   TTAB. Survey and Expert report on likelihood of confusion. [Expert Report: December 15,
   2015.]
   Razor USA LLC* vs. Vizio, INC. Central District of California. Survey and expert report to
   evaluate likelihood of confusion. [Expert Report: August 13, 2015. Deposition: September 14,
   2015.]

   In Connection with Sprint Communications Company L.P. and Sprint Spectrum L.P.* v.
   Comcast Cable Communication LLC et al. Eastern District of Pennsylvania. Conjoint survey and
   expert report to evaluate consumer preferences for particular features of cable packages. [Expert
   Report: June 17, 2015. Reply Report: July 29, 2015. Deposition: April 14, 2015.]

   Select Comfort Corporation; and Select Comfort SC Corporation* v. John Baxter; Dires LLC;
   Scott Stenzel; and Craig Miller and Digi Craft Agency and Direct Commerce. District of
   Minnesota. Survey and expert report for evidence of secondary meaning. [Expert Report: May
   20, 2015. Deposition: June 16, 2015. Trial testimony: October 9, 2017.]

   In the Matter of Certain Footwear Products. United States International Trade Commission,
   Washington DC. Survey to evaluate secondary meaning associated with footwear. [Expert
   Report: April 17, 2015. Rebuttal Report: May 13, 2015. Deposition: May 19, 2015. Testimony
   before the International Trade Commission: August 6, 2015.]




   NERA Economic Consulting                                                                       11
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   Circle Click Media LLC, Metro Talent LLC, and CTNY Insurance Group v. Regus Management
   Group, LLC, Regus Business Centre LLC, Regus PLC and HQ Global Workplaces LLC.*
   Northern District of California. Survey of business consumers used to address class certification
   and false advertising claims. [Expert Report: April 1, 2015. Deposition: May 6, 2015.]

   In re Determination of Royalty Rates and Terms for Ephemeral Recording and Digital
   Performance of Sound Recordings. Before the United States Copyright Board. Survey and
   Expert Report on consumer substitution of various music listening options. [Expert Report:
   February 24, 2015. Deposition: March 27, 2015. Hearing Testimony: May 29, 2015.]

   Larry Butler, Joseph Leonard, Kevin Barnes, Victor Matos, Alfred Blair, and Martin Champion,
   Individually and On Behalf of All Others Similarly Situated* v. Sears, Roebuck and CO.
   Northern District of Illinois – Eastern Division. Surveys, statistical analysis and Expert Report
   on issues of experienced rates and consumer preference for machines with product defects.
   [Expert Report: February 2, 2015.]

   * Retaining party

   Publications and Presentations
   “A tale of two cups: Acquired distinctiveness and survey evidence before the TTAB.” (May-June
   2020), with Healey Whitsett. The Trademark Reporter.

   “Survey response bias and the ‘privacy paradox’: Evidence from a discrete choice experiment.”
   (May, 2020), with Garrett Glasgow in Applied Economics Letters. DOI:
   10.1080/13504851.2020.1770183.

   NAD Panel – “Consumer Perception Survey Design Safeguards & Pitfalls.” National
   Advertising Division Annual Meeting, New York, NY (September, 2019).

   INTA Panel – “Surveys in the Brave New World: Designing and Using Survey Evidence in the
   Age of Online Shopping, Influencers and Hashtags.” Annual Meeting, Boston MA (May, 2019).

   “The value of non-personally identifiable information to consumers of online services: evidence
   from a discrete choice experiment,” (2016) with Garrett Glasgow in Applied Economics Letters,
   DOI: 10.1080/13504851.2016.1197357.

   “Using Survey Methods to Demonstrate the Value of Personal Information and Privacy” (May
   2015) Panel on Privacy, Security and IRBs – American Association for Public Opinion
   Research, Annual Meeting, Hollywood Florida.

   “Battle of the Experts—Deploying the Proper Scientific Methodology for Supporting or
   Challenging Claims” (March 13, 2015) invited panelist at the Advanced Forum on Resolving &
   Litigating Advertising Disputes.




   NERA Economic Consulting                                                                        12
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   “Effective Use of Surveys in Trademark Litigation,” (August, 2014) Knowledge Group
   Webinar.

   “The Use of Statistical Sampling Post-Duran,” (August, 2014) Law360.

   “The Value of Personal Information to Consumers of Online Services: Evidence from a
   Discrete Choice Experiment,” (June 19, 2014). National Economic Research, Inc.

   “An assessment of the nonmarket benefits of the Water Framework Directive for households in
   England and Wales,” with Metcalfe, Baker, Andrews, Atkinson, Bateman, Carson, East, Gueron,
   Sheldon and Train in Water Resources Research, 48:W10516. (Paper awarded Editor’s Choice
   Award for 2013).

   ABA Webinar “The Use of Surveys in Advertising Substantiation” (June 23, 2011).

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   Law360.

   “Survey Evidence in False Advertising Cases,” (Winter, 2010). The Antritrust Trial Practice
   Newsletter.

   “The Use of Surveys in Litigation: Recent Trends,” (April, 2010) with Kent Van Liere. National
   Economic Research Associates, Inc.

   “Emerging Issues in the Use of Surveys in Trademark Infringement on the Web,” with Kent Van
   Liere. Paper published in the Advanced Trademark & Advertising Law Conference proceedings,
   September 2007, Seattle, WA.

   “An Analysis of the Hypothetical Situations in Willingness to Pay Studies.” Paper presented at
   the July 2006 Thematic Seminar “Quality Criteria in Survey Research,” hosted by World
   Association for Public Opinion Research, Lake Como, Italy.

   “Use of Surveys in Intellectual Property Disputes,” (2005) with Eugene P. Ericksen, in Economic
   Approaches to Intellectual Property Policy, Litigation and Management Issues, Gregory K.
   Leonard and Lauren J. Stiroh (eds.) National Economic Research Associates, Inc.

   “Response Rate Standards: Lessons from the 2004 Presidential Polls.” Paper presented at the
   2005 Annual Meeting of American Association of Public Opinion Research, Miami Beach, FL.

   “Using Surveys to Determine Damages in Patent Infringement Cases” presented at Calculating
   and Proving Patent Damages workshop, March 2004 Charlotte, NC.

   “Using Surveys to Determine Damages in Patent Infringement Cases” presented at Calculating
   and Proving Patent Damages workshop, January 2004 San Diego, CA.




   NERA Economic Consulting                                                                         13
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   “Using Surveys to Determine Damages in Patent Infringement Cases” presented at Calculating
   and Proving Patent Damages workshop, June 2003, McLean, VA.

   Professional Associations
   Member, American Association of Public Opinion Research and World Association for Public
   Opinion Research, Member, American Statistical Association, Member, American Bar
   Association, Intellectual Property Section, Member, International Trademark Association
   (INTA), Reviewer for Trademark Reporter, Member, American Marketing Association.




   NERA Economic Consulting                                                                     14
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                          Exhibit B
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                                                 Exhibit B
                                          Materials Considered


   Court Documents
      -   Corrected Amended Class Action Complaint, Javier Cardenas, Rodney and Pamela Baker,
          Michelle Monge, and Kurt Kirton, individually and on behalf of all others similarly situated v.
          Toyota Motor Corporation, Toyota Motor Sales, U.S.A., INC., Toyota Motor Engineering &
          Manufacturing North America, INC., and Southeast Toyota Distributors, LLC, United States
          District Court Southern District of Florida, Case No.: 18-22798-CIV-MORENO, dated October
          28, 2019.


   Depositions
      -   Deposition of Javier Rene Cardenas, dated September 24, 2020.

      -   Deposition of Kurt Wayne Kirton, dated September 25, 2020.

      -   Deposition of Michelle Monge, dated October 1, 2020.

      -   Deposition of Rodney Baker, dated September 17, 2020.



   Survey Literature
      -   Braunsberger, Karin, Hans Wybenga, Roger Gates, 2007. “A comparison of reliability between
          telephone and web-based surveys,” Journal of Business Research 60.
      -   Diamond, Shari, S. (2011) “Reference Guide on Survey Research,” Reference Manual on
          Scientific Evidence, Committee on the Development of the Third Edition of the Reference
          Manual on Scientific Evidence; Federal Judicial Center; National Research Council (hereafter
          “Diamond”), pp. 359-423.
      -   Lindhjem, Henrik and Ståle Navrud, 2011. “Are Internet surveys an alternative to face-to-face
          interviews in contingent valuation?” Ecological Economics 70, no. 9.
      -   The Federal Judicial Center’s (2004) Manual for Complex Litigation, Fourth Edition, §11.493, p.
          103.


   Websites
      -   http://info.researchnow.com/rs/105-ZDT-791/images/Dynata_Panel%20Book_2.19.pdf
      -   https://b2b.autotrader.com/app/uploads/2020-Car-Buyer-Journey-Study.pdf
      -   https://inpwrd.com/the_role_of_content_inpowered.pdf
      -   https://lifehacker.com/five-best-car-comparison-sites-1670698359
      -   https://www.autopayplus.com/6-best-car-review-sites-where-to-find-best-car-reviews/
      -   https://www.consumerreports.org/cro/index.htm
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      -   https://www.coxautoinc.com/learning-center/2019-car-buyer-journey-study/
      -   https://www.doughroller.net/cars/get-the-best-deal-buying-or-selling-your-car-with-these-7-sites/
      -   https://www.edmunds.com/
      -   https://www.edmunds.com/toyota/camry/
      -   https://www.edmunds.com/toyota/camry-hybrid/
      -   https://www.google.com/recaptcha/intro/v3.html
      -   https://www.motortrend.com/
      -   https://www.nydailynews.com/autos/street-smarts/5-best-websites-tools-apps-buying-car-article-
          1.2951439
      -   https://www.similarweb.com/website/kbb.com#referrals
      -   https://www.statista.com/statistics/788261/time-spent-vehicle-buying/
      -   https://www2.deloitte.com/content/dam/Deloitte/us/Documents/manufacturing/us-auto-global-
          automotive-consumer-study-100914.pdf


   Bates Numbered Documents
          -   TOY-CARDENAS-00097765
          -   TOY-CARDENAS-00097766
          -   TOY-CARDENAS-00097767
          -   TOY-CARDENAS-00097768
          -   TOY-CARDENAS-00097769
          -   TOY-CARDENAS-00097770
          -   TOY-CARDENAS-00097772
          -   TOY-CARDENAS-00097773
          -   TOY-CARDENAS-00097774
          -   TOY-CARDENAS-00097775
          -   TOY-CARDENAS-00097776
          -   TOY-CARDENAS-00097777
          -   TOY-CARDENAS-00097778
          -   TOY-CARDENAS-00097779
          -   TOY-CARDENAS-00109643
          -   TOY-CARDENAS-00109644
          -   TOY-CARDENAS-00109645
          -   TOY-CARDENAS-00109646
          -   TOY-CARDENAS-00109647
          -   TOY-CARDENAS-00109648


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         -   TOY-CARDENAS-00115282
         -   TOY-CARDENAS-00125414
         -   TOY-CARDENAS-00136354


   Other Documents
         -   Toyota Technical Service Bulletin. May 9, 1997.




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                          Exhibit C
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                         Exhibit D
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                              Auto Review Survey
   [DO NOT ALLOW ROUTED SURVEY TRAFFIC]

   [PROGRAMMER: DISABLE RESUME LATER BUTTON FOR ENTIRE SURVEY]

   [INTRODUCTION] Thank you for your willingness to participate in our study. This is a brief
   study which should take no more than 10 minutes of your time. The responses you give to our
   questions are very important to us. If you don’t know an answer to a question or if you don’t
   have an opinion, please indicate this in your response, where appropriate. Your answers will
   only be used in the aggregate and your personal information will be kept confidential. The
   results of this study will not be used to try to sell you anything. When you are ready to get
   started, please click the “>” button.

   S1. Before continuing with this survey, please carefully read these instructions:
      • Please take this survey in one session.
      • While taking this survey, please do not, at any time, open any other windows or tabs on
        this computer or device or any other computer or device.
      • Please do not view any other written material while taking this survey.
      • Please do not consult or talk with any person while taking this survey.
      • You will not be able to go back to previous screens to change your answers.

      1. I have read the above instructions and understand them, and I will adhere to these
         instructions.
      2. I do not understand the above instructions, or I don’t wish to agree to them. [SCREEN
         OUT]

   S2. What device are you using to complete this survey?
      1. Desktop computer
      2. Laptop computer
      3. Tablet computer
      4. Smartphone [SCREEN OUT]
      5. Other [EXCLUSIVE; SCREEN OUT]

   S3. Please verify that you are human.
          [INSERT reCAPTCHA.]
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   S4. Are you…?
      1. Male
      2. Female
        [TERMINATE IF GENDER DOES NOT MATCH PANEL DATA]


   S5. Please select your age. [PROVIDE DROP DOWN BOX WITH AGE]
       [1-99 RANGE, ALLOW ONLY 18 AND ABOVE.]
       Prefer not to answer [INCLUDE IN DROP DOWN BOX, SCREEN OUT]
       [TERMINATE IF AGE DOES NOT MATCH PANEL DATA]


   S6. In which state do you currently reside?
       [INSERT DROP DOWN BOX WITH STATE; US STATES AND DC ONLY;
       OUTSIDE US OPTION, SCREEN OUT IF SELECTED]


   S7. Please enter your zip code.
       [SCREEN OUT IF STATE & ZIP DO NOT MATCH]


   S8. In the past three months, have you taken a survey on any of the following topics?
       (Select all that apply) [RANDOMIZE 1-5]
             1. Cars, SUVs/crossovers or minivans [SCREEN OUT]
             2. Car, SUV/crossover or minivan parts [SCREEN OUT]
             3. Consumer electronics
             4. Off-road vehicles
             5. Exercise equipment
             6. None of these [ANCHOR; EXCLUSIVE]
             7. Don’t know / unsure [ANCHOR; EXCLUSIVE; SCREEN OUT]

   S9. Do you or do any members of your household work for any of the following?
       (Select all that apply) [RANDOMIZE 1-7]
        1. A market research or advertising company [SCREEN OUT]
        2. A car, SUV/crossover, minivan or truck dealership [SCREEN OUT]
        3. A company that makes or manufactures cars, SUVs/crossovers, minivans, or trucks or
           parts for cars, SUVs/crossovers, minivans, or trucks [SCREEN OUT]
        4. An auto shop/garage that repairs cars, SUVs, minivans or trucks [SCREEN OUT]
        5. A company that makes or manufactures consumer electronics
        6. A company that makes or manufactures off-road vehicles
        7. A company that makes or manufactures exercise equipment
        8. None of these [ANCHOR; EXCLUSIVE]
        9. Don’t know / unsure [ANCHOR; EXCLUSIVE; SCREEN OUT]

                                                                                                2
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   S10. Which of the following items, if any, are you considering purchasing in the next two years?
   (Select all that apply) [RANDOMIZE 1-9]
         1. New car
         2. Used car
         3. New SUV/crossover
         4. Used SUV/crossover
         5. New minivan
         6. Used minivan
         7. New motorcycle
         8. New boat
         9. Used motorcycle
         10. Used boat
         11. Off-road vehicle
         12. None of these [ANCHOR; EXCLUSIVE; SCREEN OUT]
         13. Don’t know / unsure [ANCHOR; EXCLUSIVE; SCREEN OUT]

   [IF ALL IN 1-11 SELECTED SCREEN OUT]
   [IF S10 IS NOT 1 “NEW CAR” SCREEN OUT]

   S11. Which of the following new vehicle brand(s) are you considering purchasing in the next
        two years? (Select all that apply) [DISPLAY 1-18 IN ALPHABETICAL ORDER]
         1. Audi
         2. BMW
         3. Chevrolet
         4. Dodge
         5. Ford
         6. GMC
         7. Honda
         8. Hyundai
         9. Jeep
         10. Kia
         11. Lexus
         12. Mazda
         13. Mercedes-Benz
         14. Nissan
         15. Subaru
         16. Tesla
         17. Toyota
         18. Volkswagen
         19. Other (Please specify) [ANCHOR]
         20. Don’t know / unsure [ANCHOR; EXCLUSIVE; SCREEN OUT]

   [SCREEN OUT IF S11 IS NOT TOYOTA (S11=17)]


                                                                                                  3
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   S12. Which of the following new Toyota models are you considering purchasing in the next two
        years? (Select all that apply)
         1. Compact
         2. Four-door sedan
         3. SUV/crossover
         4. Minivan
         5. Hatchback
         6. Sports car
         7. Other (Please specify)
         8. Don’t know / unsure [ANCHOR; EXCLUSIVE. SCREEN OUT]

   [TO QUALIFY AS TOYOTA PROSPECTIVE PURCHASER MUST HAVE SELECTED
   S12=2, “FOUR-DOOR SEDAN”. OTHERWISE, SCREEN OUT.].


   S13. Which of the following car engine types are you willing to consider purchasing in the next
        two years?
        (Select all that apply) [RANDOMIZE 1-4]
         1. Electric
         2. Diesel
         3. Gasoline
         4. Hybrid
         5. Don’t know / unsure [ANCHOR; EXCLUSIVE.]

   [WITHIN EACH OF THE DISCLOSURE/VEHICLE GROUPS, RANDOMLY ASSIGN
   TO DISCLOSURE/NON-DISCLOSURE GROUP. SEE CHART BELOW INDICATING
   WHICH IMAGE TO SHOW TO WHICH GROUP, AS WELL AS THE HYBRID IMAGE
   TO SHOW IF APPLICABLE.]

                                                              LOGIC FOR GROUP
   Group               Vehicle
                                                              ASSIGNMENT

   1. DISCLOSURE       Toyota Sedan – Camry                   S11=17 & S12=2

   1. DISCLOSURE       Toyota Sedan – Camry HV                S11=17 & S12=2 & S13 IS ONLY 4

   2. NON-
                       Toyota Sedan – Camry                   S11=17 & S12=2
   DISCLOSURE

   2. NON-
                       Toyota Sedan – Camry HV                S11=17 & S12=2 & S13 IS ONLY 4
   DISCLOSURE




                                                                                                     4
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   [INTRO TO MAIN QUESTIONNAIRE]

   Thank you for participating in today’s survey. If you do not know or do not have an opinion
   about any of the questions, please select “Don’t know / unsure.” Please do not guess.

   [NEW SCREEN]

   Imagine you were gathering information about vehicles you might consider purchasing and you
   came across the following. Please review this information as you normally would if you were
   considering making a vehicle purchase.

   [SHOW VEHICLE REVIEW BASED ON GROUP ASSIGNMENT; ADD FIVE SECOND
   DELAY ON REVIEW WEBPAGE BEFORE RESPONDENT IS ABLE TO PROCEED].

   [SHOW WEBPAGE AS FULL PAGE FIT TO BROWSER WINDOW. WHERE
   HYPERLINKS APPEAR, RESPONDENTS CAN CLICK TO VIEW MORE
   INFORMATION. RECORD CLICKS]




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   [PARTIAL EXAMPLE PAGE FOR CAMRY NON-DISCLOSURE GROUP]




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   [PARTIAL EXAMPLE PAGE FOR CAMRY DISCLOSURE GROUP]




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   DISCLOSURE LANGUAGE, FOR DISCLOSURE GROUP:

   [PROGRAMMER: The below disclosure language will be featured as the third bullet under
   “cons” for the “disclosure group” vehicles.

          Toyota has disclosed that the HVAC system in Camry and Camry HV models may emit a
          musty, damp, and/or sour odor. (hyperlink to click for more information)

          HVAC system odor has many causes, and may be caused by a design that allows
          condensing water to accumulate and for naturally occurring organic materials to be
          trapped in the system.

   [PROGRAMMER: if link is clicked, show the additional explanation below]

          The musty, damp, and/or sour odor is most noticeable when the air conditioner is first
          turned “ON” after the vehicle has been parked for several hours.

          There is no way to eliminate this odor, but there are available steps and maintenance
          items not covered by warranty to help reduce its intensity. There will be no advanced
          warnings prior to the existence of this condition; you will become aware of it if it occurs.



   ALL VEHICLES, BOTH DISCLOSURE AND NON-DISCLOSURE

   “PROS”

   1. COMBINED FUEL ECONOMY [header only, do not program]

   [PROGRAMMER: “Combined fuel economy” is featured at the top of the page, to the right of
   the car image. If it is clicked, the following text should appear in a pop-up]

   Fuel economy is often measured in MPG and is usually broken out by MPG in the city versus
   highway. The higher the MPG, the farther you can drive on a tank of gas. A car with good fuel
   economy is likely to save you money on gasoline in the long run and can be better for the
   environment. Combined fuel economy is the weighted average of City MPG and Highway MPG,
   assuming that the vehicle is driven in the city 55 percent of the time and on the highway 45
   percent of the time.




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   2. HORSEPOWER [header only, do not program]

   [PROGRAMMER: “Horsepower” is featured at the top of the page, to the right of the car image.
   If it is clicked, the following text should appear in a pop-up]

   Horsepower is a measure of the power produced by a vehicle’s engine. It gives an idea of how
   the power of a vehicle compares to other vehicles. A higher horsepower number means a more
   powerful engine. Vehicles with higher horsepower have a tendency to accelerate more quickly.
   High horsepower cars are generally stylish and expensive, and considered fun to drive.


   “CONS”

   1. DISCLOSURE LANGUAGE

   [PROGRAMMER: See instructions above]



   2. NO MANUAL TRANSMISSION

   [PROGRAMMER: “No manual transmission” is featured in the list of “cons”. If it is clicked, the
   following text should appear in a pop-up]

   A manual transmission car which is also known as a stick shift, is a type of transmission that
   uses a driver-operated clutch which is engaged and disengaged by a foot pedal or hand lever.
   This mechanism allows the driver to regulate torque and power transfer. For some drivers,
   manual cars are more engaging. Manual cars are often easier to maintain, have better fuel
   economy, and give the driver more control. In addition, they are generally less expensive to
   repair than their automatic counterpart.




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   QV1. Were you able to see the information clearly? [ROTATE OPTIONS 1 AND 2]
         1. Yes
         2. No [SCREEN OUT]
         3. Don’t know / unsure [SCREEN OUT]

   [FOR SUBSEQUENT QUESTIONS UP TO Q7– SHOW THUMBNAIL OF REVIEW
   WITH CAPTION UNDERNEATH STATING, “Click on the review to enlarge.” DO NOT
   SHOW THUMBNAIL IN Q8 AND ONWARDS. CAPTURE CLICKS; VARIABLE FOR
   EACH QUESTION]



   Q1.What information in this review, if any, is important to you? (Please type in your response)
      [INDICATE “CLICK ON THE REVIEW TO ENLARGE’ FOR EACH BROCHURE
      THUMBNAIL]


   Q2. Anything else? (Please type in your response)


   Q3. Is there any information in this review that positively affects your perception of this vehicle?
       [ROTATE OPTIONS 1 AND 2]

          1. Yes
          2. No [GO TO Q5]
          3. Don’t know / unsure [GO TO Q5]


   Q4. [ASK IF Q3=YES] What information in this review positively affects your perception of
       this vehicle? (Please type in your response)


   Q5. Is there any information in this review that negatively affects your perception of this
       vehicle? [ROTATE OPTIONS 1 AND 2]

          1. Yes
          2. No [GO TO Q7]
          3. Don’t know / unsure [GO TO Q7]


   Q6. [ASK IF Q5=YES] What information in this review negatively affects your perception of
      this vehicle? (Please type in your response)




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   Q7. Based on the information in this review, how interested would you be in purchasing this
       vehicle? [ROTATE ENDS OF SCALE – VERY LIKELY TO VERY UNLIKELY, OR
       REVERSE]

          1.   Very likely
          2.   Somewhat likely
          3.   Neither likely nor unlikely
          4.   Somewhat unlikely
          5.   Very unlikely
          6.   Don’t know / unsure [ANCHOR; EXCLUSIVE]


   Q8. Did the product description you reviewed include information about any of the following
       features? [RANDOMIZE ROWS 1-6; ROTATE ORDER OF YES AND NO
       COLUMNS.]

          [Feature]                 Yes                     No             Don’t know / unsure

    HVAC System

    Fuel Economy

    Horsepower

    Interior Style

    Infotainment

    Exterior Style




   Q9. Are you aware of any current civil lawsuits against manufacturers of the following
       products?
       [PROGRAMMER: RANDOMIZE ROWS. ROTATE ORDER OF YES AND NO
       COLUMNS.]

                                             Yes                 No        Don’t know / unsure
          Vehicles
          Household appliances
          Motorcycles
          Smartphones




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   Q10. You said that you were aware of a current civil lawsuit against a vehicle manufacturer.
        Which of the following vehicle brands is/are the lawsuit(s) against?

         1. Audi
         2. BMW
         3. Chevrolet
         4. Dodge
         5. Ford
         6. GMC
         7. Honda
         8. Hyundai
         9. Jeep
         10. Kia
         11. Lexus
         12. Mazda
         13. Mercedes-Benz
         14. Nissan
         15. Subaru
         16. Tesla
         17. Toyota
         18. Volkswagen
         19. Other (Please specify) [ANCHOR]
         20. Don’t know / unsure [ANCHOR; EXCLUSIVE]


      [ASK Q11 IF Q10 = “Toyota”]
   Q11. You mentioned that you are aware of current civil lawsuits against Toyota vehicles. To the
        best of your knowledge, can you describe what the litigation is about? (Please type in your
        response) [TEXT BOX]



   END: Thank you your participation. Those are all the questions we have for you today!




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                 Non-Disclosure
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                                      Respondent Purchase Intent
                                         (Male Respondents)
                                                          Disclosure       Non-Disclosure
        Response Option                               Count     Percent   Count   Percent
        Very likely                                     53       42.1%      67      54.5%
        Somewhat likely                                 51       40.5%      35      28.5%
        Neither likely nor unlikely                     10       7.9%       12      9.8%
        Somewhat unlikely                               4        3.2%       6       4.9%
        Very unlikely                                   7        5.6%       3       2.4%
        Don't know / unsure                             1        0.8%       0       0.0%
        Total Respondents                              126      100.0%     123     100.0%




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                                      Respondent Purchase Intent
                                        (Female Respondents)
                                                          Disclosure       Non-Disclosure
        Response Option                               Count     Percent   Count   Percent
        Very likely                                    31        39.2%     36       42.9%
        Somewhat likely                                28        35.4%     30       35.7%
        Neither likely nor unlikely                    12        15.2%      6       7.1%
        Somewhat unlikely                               6        7.6%       6       7.1%
        Very unlikely                                   2        2.5%       4       4.8%
        Don't know / unsure                             0        0.0%       2       2.4%
        Total Respondents                              79       100.0%     84      100.0%




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                                      Respondent Purchase Intent
                                       (Respondents Aged 18-34)
                                                          Disclosure       Non-Disclosure
        Response Option                               Count     Percent   Count   Percent
        Very likely                                    19        45.2%     26       60.5%
        Somewhat likely                                18        42.9%     11       25.6%
        Neither likely nor unlikely                     1        2.4%       3       7.0%
        Somewhat unlikely                               3        7.1%       3       7.0%
        Very unlikely                                   1        2.4%       0       0.0%
        Don't know / unsure                             0        0.0%       0       0.0%
        Total Respondents                              42       100.0%     43      100.0%




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                                      Respondent Purchase Intent
                                       (Respondents Aged 35-54)
                                                          Disclosure       Non-Disclosure
        Response Option                               Count     Percent   Count   Percent
        Very likely                                    44        57.1%     36       46.8%
        Somewhat likely                                25        32.5%     33       42.9%
        Neither likely nor unlikely                     5        6.5%       3       3.9%
        Somewhat unlikely                               3        3.9%       3       3.9%
        Very unlikely                                   0        0.0%       2       2.6%
        Don't know / unsure                             0        0.0%       0       0.0%
        Total Respondents                              77       100.0%     77      100.0%




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                                        Respondent Purchase Intent
                                      (Respondents Aged 55 or Older)
                                                            Disclosure       Non-Disclosure
        Response Option                                 Count     Percent   Count   Percent
        Very likely                                      21        24.4%     41       47.1%
        Somewhat likely                                  36        41.9%     21       24.1%
        Neither likely nor unlikely                      16        18.6%     12       13.8%
        Somewhat unlikely                                 4        4.7%       6       6.9%
        Very unlikely                                     8        9.3%       5       5.7%
        Don't know / unsure                               1        1.2%       2       2.3%
        Total Respondents                                86       100.0%     87      100.0%




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                                   Respondent Purchase Intent
                            (Northeast U.S. Census Region Respondents)
                                                        Disclosure       Non-Disclosure
        Response Option                             Count     Percent   Count   Percent
        Very likely                                  17        42.5%     21       52.5%
        Somewhat likely                              12        30.0%     10       25.0%
        Neither likely nor unlikely                   7        17.5%      3       7.5%
        Somewhat unlikely                             3        7.5%       3       7.5%
        Very unlikely                                 1        2.5%       3       7.5%
        Don't know / unsure                           0        0.0%       0       0.0%
        Total Respondents                            40       100.0%     40      100.0%




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                                   Respondent Purchase Intent
                             (Midwest U.S. Census Region Respondents)
                                                        Disclosure       Non-Disclosure
        Response Option                             Count     Percent   Count   Percent
        Very likely                                  11        31.4%     17       45.9%
        Somewhat likely                              18        51.4%     13       35.1%
        Neither likely nor unlikely                   3        8.6%       3       8.1%
        Somewhat unlikely                             0        0.0%       2       5.4%
        Very unlikely                                 3        8.6%       2       5.4%
        Don't know / unsure                           0        0.0%       0       0.0%
        Total Respondents                            35       100.0%     37      100.0%




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                                    Respondent Purchase Intent
                              (South U.S. Census Region Respondents)
                                                        Disclosure       Non-Disclosure
        Response Option                             Count     Percent   Count   Percent
        Very likely                                  39        42.9%     44       51.8%
        Somewhat likely                              35        38.5%     26       30.6%
        Neither likely nor unlikely                   7        7.7%       8       9.4%
        Somewhat unlikely                             6        6.6%       4       4.7%
        Very unlikely                                 3        3.3%       2       2.4%
        Don't know / unsure                           1        1.1%       1       1.2%
        Total Respondents                            91       100.0%     85      100.0%




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                                    Respondent Purchase Intent
                               (West U.S. Census Region Respondents)
                                                        Disclosure       Non-Disclosure
        Response Option                             Count     Percent   Count   Percent
        Very likely                                  17        43.6%     21       46.7%
        Somewhat likely                              14        35.9%     16       35.6%
        Neither likely nor unlikely                   5        12.8%      4       8.9%
        Somewhat unlikely                             1        2.6%       3       6.7%
        Very unlikely                                 2        5.1%       0       0.0%
        Don't know / unsure                           0        0.0%       1       2.2%
        Total Respondents                            39       100.0%     45      100.0%




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                           Exhibit I
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                                      Respondent Purchase Intent
                                      (Hybrid Respondent Group)
                                                          Disclosure       Non-Disclosure
        Response Option                              Count      Percent   Count    Percent
        Very likely                                   62         45.9%     76       55.5%
        Somewhat likely                                49        36.3%     44       32.1%
        Neither likely nor unlikely                    11         8.1%      7        5.1%
        Somewhat unlikely                               7         5.2%      6        4.4%
        Very unlikely                                  5          3.7%      3        2.2%
        Don't know / unsure                             1         0.7%      1        0.7%
        Total Respondents                             135       100.0%     137     100.0%




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                                        Respondent Purchase Intent
                                      (Non-Hybrid Respondent Group)
                                                           Disclosure       Non-Disclosure
        Response Option                                Count     Percent   Count    Percent
        Very likely                                     22        31.4%     27       38.6%
        Somewhat likely                                 30        42.9%     21       30.0%
        Neither likely nor unlikely                     11        15.7%     11       15.7%
        Somewhat unlikely                                3         4.3%      6        8.6%
        Very unlikely                                    4         5.7%      4        5.7%
        Don't know / unsure                              0         0.0%      1        1.4%
        Total Respondents                               70       100.0%     70      100.0%




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